                                          Case 2:20-cv-02185-DJH      Document 27-1       Filed 11/22/21   Page 1 of 133




                                     1 Eliezer Lekht (Pro Hac Vice)
                                       SRIPLAW
                                     2 125 Maiden Lane
                                       Suite 5C
                                     3 New York, NY 10038
                                       561.404.4350 – Telephone
                                       561.404.4353 – Facsimile
                                     4
                                       eliezer.lekht@sriplaw.com
                                       Attorneys for Plaintiff VPR Brands, LP
                                     5

                                     6                            UNITED STATES DISTRICT COURT
                                                                      DISTRICT OF ARIZONA
                                     7                                  PHOENIX DIVISION

                                     8   VPR Brands, LP,                                  No. CV-20-02185-PHX-DJH

                                     9                       Plaintiff/Counterclaim         EXPERT REPORT and
                                                             Defendant,                     DECLARATION OF DR.
          LOS ANGELES, CALIFORNIA




                                    10                                                      GEORGE YANULIS
SRIPLAW




                                         v.
                                    11   Jupiter Research, LLC,

                                    12                       Defendant/Counterclaim
                                                             Plaintiff.
                                    13

                                    14
                                               1.     I am a biomedical engineer. I operate GY Medical Device Consulting,
                                    15
                                         LLC, an engineering consulting firm. I’m consulting as a paid expert for VPR Brands,
                                    16
                                         LP in this matter, my consulting rate is set at $400 per hour.
                                    17
                                               2.     I have over thirty years of biomedical engineering experience in the
                                    18
                                         medical devices field.
                                    19
                                               3.     During this time, I’ve earned several engineering awards. See Exhibit A.
                                    20
                                         I published scholarly papers in the field of biomedical engineering, including topics
                                    21
                                                                                      1
                                                                                                                 CV-20-02185-PHX-DJH
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                                     1 such as the development of a heart failure therapy monitoring system (see,

                                     2 https://engagedscholarship.csuohio.edu/cgi/viewcontent.cgi?article=1313&context=et

                                     3 darchive. I am a member of and participate in professional engineering associations,

                                     4 including IEEE Engineering in Medicine & Biology, Association for the

                                     5 Advancement of Medical Instrumentation, and Heart Rhythm Society. See Exhibit A.

                                     6         4.    My education includes Bachelor of Arts degree in Premedical

                                     7 Studies/Chemistry (Syracuse University. 1977), Masters in Biomedical Engineering

                                     8 (University of Virginia, 1981), Masters in Bioengineering (University of Pittsburgh,

                                     9 2002), and Doctorate in Engineering (Cleveland State University, 2008). See Exhibit
          LOS ANGELES, CALIFORNIA




                                    10 A.
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                                    11         5.    In the above captioned suit, VPR asserts U.S. Patent No. 8,205,622 (the

                                    12 “‘622 Patent” or “patent -in-suit”) titled “Electronic Cigarette.” The ‘622 Patent

                                    13 claims priority to Chinese Patent Application No. 2009100801475 (the “‘475

                                    14 application”), which is incorporated by reference in its entirety in the ‘622 Patent

                                    15 specification. See, ‘622 Patent at Col. 1, lines 3-5.

                                    16         6.    I consider myself to have at least the qualifications of a person having

                                    17 ordinary skill in the art (PHOSITA) related to the claimed invention of the current

                                    18 above referenced suit, United States Patent Nos. 8,205,622 (the ‘622 patent).

                                    19         7.    I submit this declaration for the purpose of establishing how a PHOSITA

                                    20 would understand the claim terms of the patent in suit.

                                    21
                                                                                    2
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                                     1                                   SINGLE CHIP MICYOCO
                                               8.     The ‘622 patent includes numerous disclosures and embodiments. A
                                     2
                                         PHOSITA would recognize that the relevant claims in this suit relate to the
                                     3
                                         embodiments of the ‘622 patent which utilizes a Single Chip Micyoco (“SCM”) to
                                     4
                                         control the atomizing unit’s temperature and duration by using an airflow sensor in the
                                     5
                                         form of a diaphragm microphone to monitor the change in air pressure to send a signal
                                     6
                                         to power the battery of the device which in turn provides current to the atomizer,
                                     7
                                         thereby activating the vaporizing process.
                                     8
                                               9.     A plain reading of the ‘622 patent would enable a PHOSITA to readily
                                     9
          LOS ANGELES, CALIFORNIA




                                         understand that the term “Single Chip Micyoco” as used in Claims 13, 14, 15, and 16,
                                    10
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                                         to mean:
                                    11
                                                      A microcontroller including a processor, software
                                    12
                                                      instructions to be executed by the processor, memory, and I/O
                                                      processed by the processor.
                                    13
                                               10.    For example, the ‘622 patent states in pertinent part:
                                    14
                                                      When the user puffs on the electronic cigarette through the
                                    15
                                                      air-puffing hole on the first end of the atomizer, the electronic
                                    16
                                                      sensor detects an airflow and converts it to a signal, which
                                    17
                                                      then wakes up the single chip micyoco to record the signal.
                                    18
                                                      The single chip micyoco guided by its embedded software
                                    19
                                                      instructions may turn on the electric power source to supply
                                    20
                                                      an electricity current with a predefined time length”.
                                    21
                                                                                      3
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                                     1 Col. 2, lines 51-57

                                     2          11.    In the next column, the patent specification refers to the “Single Chip

                                     3 Micyoco” as a microprocessor to describe the same process. For example, the ‘622

                                     4 patent states in pertinent part:

                                     5                 …airflow generated by the user's puffing and creating a signal
                                                       for the microprocessor to activate the electric circuit. Once
                                     6
                                                       the circuit is activated, the electric power source sends an
                                     7
                                                       electric current to the system and the connected integrated
                                     8                 atomizer, and the vaporizing process begins. When the
                                                       puffing stops, the microprocessor instructs the electric
                                     9
          LOS ANGELES, CALIFORNIA




                                                       power source to stop supplying the electricity current, and the
                                    10
SRIPLAW




                                                       vaporizing process stops.
                                    11 Col. 3, lines 26-33.
                                                12.    The patent specification also refers to the “Single Chip Micyoco” as a
                                    12
                                         CPU (i.e. a processor) to describe the same process. For example, the ‘622 patent
                                    13
                                         states in pertinent part:
                                    14
                                                       The user puffs on the end of the electronic cigarette with the
                                    15
                                                       air-puffing hole to activate the CPU processor through
                                    16
                                                       detection of an airflow signal and generate an electric current
                                    17
                                                       flowing through the electric heating wire, which achieves
                                    18
                                                       vaporization of the solution inside the liquid container.
                                    19
                                         Col. 5, lines 62-67
                                    20

                                    21
                                                                                      4
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                                     1            13.      Therefore, from the specification, it is clear that the ‘622 patent uses the

                                     2 term “Single Chip Micyoco”, interchangeably with the terms “Microprocessor”, and

                                     3 “CPU (i.e. a “processor”).

                                     4            14.      A Single Chip Micyoco is the term used in the art to describe the

                                     5 combination of components to formulate a computer on a single chip. In other words,

                                     6 a Single Chip Microcomputer. In certain regions, the terms “micyoco” is simply an

                                     7 alternative shorthand for the terms “microcontroller,” “microprocessor,” or

                                     8 “microcomputer.” Attached herewith as Exhibit B, is a true and correct copy of an

                                     9 excerpt from an article published by Kynix Semiconductor Limited, a professional
          LOS ANGELES, CALIFORNIA




                                    10 electronic components distributor1, which states in pertinent part:
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                                    11                  Single-chip Microcomputer, also called microcontroller, is not a
                                                        chip to complete a logical function, but a computer system
                                    12                  integrated into a chip. It is equivalent to a microcomputer.
                                                        Compared with the computer, the microcontroller only lacks the
                                    13                  I/O device.
                                         See Exhibit B.
                                    14
                                                                            DIAPHRAGM MICROPHONE
                                    15
                                                  15.      A plain reading of the ‘622 patent would enable a PHOSITA to readily
                                    16
                                         understand the term “diaphragm microphone” as used in Claims 13, 14, 15, and 16, to
                                    17
                                         mean:
                                    18

                                    19

                                    20
                                         1
                                             Publicly available at the web URL: http://www.kynixsemiconductor.com/News/31.html
                                    21
                                                                                          5
                                                                                                                      CV-20-02185-PHX-DJH
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                                     1                    A device for converting pressure waves into electrical
                                                          energy using a thin sheet of material that is capable of
                                     2                    vibrating.

                                     3             16.    For example, the ‘622 patent states: “…the airflow sensor is a diaphragm

                                     4 microphone. Col. 6, lines 37-38. Additionally, claim 14 of the ‘622 patent specifically

                                     5 defines “diaphragm microphone” as “wherein the electric airflow sensor is a

                                     6 diaphragm microphone.” See Col. 8, lines 4-5.

                                     7             17.    Additionally, claim 17 of the ‘622 patent further explains “diaphragm

                                     8 microphone” by describing the airflow sensor as “an electric airflow sensor

                                     9 configured to turn on and off the electric power source by way of detecting an airflow,
          LOS ANGELES, CALIFORNIA




                                    10 and the airflow sensor is a diaphragm microphone.” See Col. 8, lines 37-40.
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                                    11             18.    Attached herewith as Exhibit C, is a true and correct copy of an excerpt
                                                                                                                      2
                                    12 from Sterling Audio, which specializes in high-end studio condenser microphones ,

                                    13 which states in pertinent part:

                                    14                    The diaphragm is the component of the microphone capsule
                                                          that vibrates in response to sound waves. Diaphragm
                                    15                    material, design, thickness and diameter—or size—all help to
                                                          determine a microphone’s frequency, transient and polar
                                    16                    responsiveness.
                                         See, Exhibit C.
                                    17

                                    18

                                    19
                                         2
                                             Publicly available at the web URL: https://sterlingaudio.net/understanding-
                                    20 microphones/#:~:text=The%20diaphragm%20is%20the%20component,%E2%80%94large%2C%20
                                         medium%20and%20small.
                                    21
                                                                                             6
                                                                                                                           CV-20-02185-PHX-DJH
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                                     1        19.    A PHOSITA further recognizes that a diaphragm microphone is a tool to

                                     2 pick up sound waves (or other changes in pressure). The sound waves (or pressure

                                     3 change) cause the membrane to vibrate, which, in turn triggers an electrical signal that

                                     4 can be sent to a processor.

                                     5                                  ELECTRONIC INHALER

                                     6        20.    A plain reading of the ‘622 patent would enable a PHOSITA to readily

                                     7 understand that the term “electronic inhaler” as used in Claims 13, 14, 15, 16, 17, and

                                     8 18 to mean:

                                     9               A tubular housing comprising one or more electrical
          LOS ANGELES, CALIFORNIA




                                                     components and one or more holes to allow airflow
                                    10
SRIPLAW




                                              21.    For example, the ‘622 patent states in pertinent part:
                                    11
                                                     The inhaler preferably includes one or more of an electric
                                    12               power source, electric sensor, single chip micyoco, and LED
                                                     indicator. The electric power source, which can be a
                                    13               rechargeable or non-rechargeable battery, supplies electricity
                                                     to the atomizer to vaporize a liquid inside an atomizer
                                    14               chamber. On the first end of the inhaler tube may be a
                                                     cigarette cap with a small hole for airflow. On the second end
                                    15               of the tube may be an electric connector with either outskirt
                                                     screw thread or a DC socket.
                                    16 See Col. 2, lines 30-38.

                                    17                                 ELECTRONIC ATOMIZER

                                    18        22.    A plain reading of the ‘622 patent would enable a PHOSITA to readily

                                    19 understand that the term “electronic atomizer” as used in Claims 13, 14, 15, 16, 17,

                                    20 and 18 to mean:

                                    21
                                                                                    7
                                                                                                               CV-20-02185-PHX-DJH
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                                     1                 A device that converts a solution of a liquid form through
                                                       vaporization or atomization to a gas form, using electric
                                     2                 current.

                                     3           23.   For example, the Abstract of the ‘622 Patent describes what is inside the

                                     4 electronic atomizer: “[i]nside the electronic atomizer are an electric connector, electric

                                     5 heating wire, liquid container, and atomizer cap with an air-puffing hole.”

                                     6           24.   Moreover, the ‘622 patent states: “wherein the tubular electronic

                                     7 atomizer includes a container and media within the container, the media is soaked

                                     8 with a solution to be atomized, and between the container and the media there is a

                                     9 side-space for airflow.” See Col. 6, lines 30-34
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                                    10           25.   Claim 18 also specifies the components of the electronic atomizer to
SRIPLAW




                                    11 include: “an electric connector, a leak-proof piece, a supporting piece, a heat equalizer

                                    12 coupled with an electric heating wire, the container filled with the media, and the air-

                                    13 puffing hole.” See Col. 8, lines 42-45.

                                    14           26.   Finally, the term “atomizer” is a common and well-known term in the art.

                                    15 Attached herewith as Exhibit D, is a true and correct copy of an excerpt from
                                                                        3
                                    16 Wikipedia, an online encyclopedia , which states in pertinent part:

                                    17                 An atomizer consists of a small heating element that
                                                       vaporizes e-liquid and a wicking material that draws liquid
                                    18                 onto the coil. Along with a battery and e-liquid the atomizer
                                                       is the main component of every personal vaporizer. When
                                    19

                                    20   3
                                          Publicly available at the web URL:
                                         https://en.wikipedia.org/wiki/Construction_of_electronic_cigarettes.
                                    21
                                                                                          8
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                                     1                 activated, the resistance wire coil heats up and vaporizes the
                                                       liquid, which is then inhaled by the user.
                                     2 See, Exhibit D.

                                     3           27.   Or as simplified by the National Institute on Drug Abuse, an atomizer is

                                     4 simply another term for the “heat element,” Attached herewith as Exhibit E, is a true

                                     5 and correct copy of an excerpt from DrugAbuse.gov, a National Institute on Drug

                                     6 Abuse, where the opening bullet points, state: “a heating element (atomizer).”
                                             4



                                     7                                             INSTRUCTS

                                     8           28.   A plain reading of the ‘622 patent would enable a PHOSITA to readily

                                     9 understand that the term “instructs” as used in Claims 13, 14, and 15, to mean:
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                                    10                 The Single Chip Micyoco provides a signal to control the time
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                                                       period & magnitude of the electric current
                                    11
                                                 29.   For example, the Abstract of the ‘622 Patent describes “instructs” in the
                                    12
                                         context of the SCM controlling the device. “The sensor's role is to collect an airflow
                                    13
                                         signal that triggers the Single Chip Micyoco, which in turn instructs the electronic
                                    14
                                         cigarette to supply electric power to the inhaler and atomizer connected through an
                                    15
                                         electric connector.” Id.
                                    16
                                                 30.   The term “instructs” is used throughout the patent to mean a signal which
                                    17
                                         controls the electric current going to the atomizer. For example, the ‘622 patent states:
                                    18

                                    19

                                    20   4
                                          Publicly available at the web URL: https://www.drugabuse.gov/publications/drugfacts/vaping-
                                         devices-electronic-cigarettes.
                                    21
                                                                                        9
                                                                                                                     CV-20-02185-PHX-DJH
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                                     1                   When the puffing stops, the microprocessor instructs the

                                     2                   electric power source to stop supplying the electricity current,

                                     3                   and the vaporizing process stops.

                                     4 Col. 3, lines 31-33.

                                     5            31.    Additionally, the same term is used to describe the signal sent from the

                                     6 SCM to begin the atomizing process. For example, the ‘622 patent states:

                                     7                   The single chip micyoco instructs the electric power source

                                     8                   to supply electricity to the system by its embedded computer

                                     9                   programs when a signal is generated through the airflow
          LOS ANGELES, CALIFORNIA




                                    10                   detected by the electric sensor from the user's puffing action.
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                                    11 Col. 4, lines 18-23

                                    12            32.    Therefore, the term “instructs” means to send a signal in order to control

                                    13 a function of the device, here, a signal to turn on/off the power source.

                                    14            33.    Attached herewith as Exhibit F, is a true and correct copy of an excerpt

                                    15 from Merriam Webster Dictionary5, which provides the definition of “instruct” as: “to

                                    16 provide with authoritative information or advice; to give an order or command.” See,

                                    17 Exhibit F.

                                    18

                                    19

                                    20
                                         5
                                             Publicly available at the web URL: https://www.merriam-webster.com/dictionary/instruct
                                    21
                                                                                          10
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                                     1                    TIME PERIOD & MAGNITUDE OF THE ELECTRIC CURRENT

                                     2            34.    A plain reading of the ‘622 patent would enable a PHOSITA to readily

                                     3 understand that the term “time period & magnitude of the electric current” as used in

                                     4 Claims 13, 14, and 15, to mean:

                                     5                   The duration of time and the strength of the current is
                                                         provided to the heating element
                                     6            35.    For example, the ‘622 patent states:
                                     7                   the electronic cigarette further comprising an electric airflow
                                     8                   sensor that is used to turn on and off the electric power source
                                     9                   by way of detecting an airflow and sending a signal to a Single
          LOS ANGELES, CALIFORNIA




                                    10
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                                                         Chip Micyoco, wherein the Single Chip Micyoco receives the
                                    11                   signal from the electric airflow sensor, instructs the electric
                                    12                   power source to send an electric current to the electronic
                                    13                   atomizer, and a time period and a magnitude of the electric
                                    14                   current.
                                    15 Col. 7-8, lines 41-46,1-3

                                    16            36.    A PHOSITA readily understands the definition of the term “time period”
                                    17 to mean “an amount of time”. Attached herewith as Exhibit G, is a true and correct

                                    18 copy of an excerpt from TheFreeDictionary.6

                                    19

                                    20
                                         6
                                             Publicly available at the web URL: https://www.thefreedictionary.com/time+period
                                    21
                                                                                          11
                                                                                                                        CV-20-02185-PHX-DJH
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                                     1               37.      Additionally, a PHOSITA readily understands the term “magnitude” to

                                     2 mean “the amount of charge flowing at a particular point.” Attached herewith as

                                     3 Exhibit H, is a true and correct copy of an excerpt from Quora.7

                                     4                                          ELECTRIC CONNECTOR

                                     5               38.      A plain reading of the ‘622 patent would enable a PHOSITA to readily

                                     6 understand that the term “electric connector” as used in Claims 16 and 18, to mean:

                                     7                        A conductive contact

                                     8         39.         For example, the ‘622 patent states:

                                     9                        The first electric connector with an outskirt screw thread is
          LOS ANGELES, CALIFORNIA




                                                              partially embedded in the inhaler tube, which can be
                                    10
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                                                              connected to the second electric connector of the electric
                                    11
                                                              atomizer to form an electronic cigarette.
                                    12 Col 5. lines 21-24. .
                                                     40.      The First electric connector is generally made of copper or another metal
                                    13
                                         conductor. See Col. 5, lines 27-28.
                                    14
                                                     41.      A PHOSITA readily understands the term “an electrical connector” to
                                    15
                                         mean “an electromechanical device used to join electrical conductors and create an
                                    16
                                         electrical circuit.” Attached herewith as Exhibit I, is a true and correct copy of an
                                    17
                                         excerpt from Wikipedia.8
                                    18

                                    19

                                    20   7
                                             Publicly available at the web URL: https://www.quora.com/What-is-the-magnitude-of-current
                                         8
                                             Publicly available at the web URL: https://en.wikipedia.org/wiki/Electrical_connector
                                    21
                                                                                            12
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                                     1                                          SUPPORTING PIECE

                                     2            42.    A plain reading of the ‘622 patent would enable a PHOSITA to readily

                                     3 understand that the term “supporting piece” as used in Claim 18, to mean:

                                     4                   A piece made of material able to withstand high temperatures
                                                         that supports one or more electrical components
                                     5
                                                  43.    For example, the ‘622 patent states:
                                     6
                                                         The electronic atomizer may include a liquid-container or a
                                     7
                                                         chamber inside the atomizer tube, which preferably also
                                     8
                                                         includes a heat equalizer that has an electric heat wire, a
                                     9
                                                         supporting piece which holds up the heat equalizer, and an
          LOS ANGELES, CALIFORNIA




                                    10
SRIPLAW




                                                         electric connector.
                                    11
                                         Col. 2, lines 39-43 (emphasis added)
                                    12
                                                  44.    A PHOSITA readily understands the term “supporting piece” to mean “to
                                    13
                                         bear or hold up.” Attached herewith as Exhibit J, a true and correct copy of an excerpt
                                    14
                                         from Dictionary.com.9
                                    15
                                                  45.    Additionally, a PHOSITA would readily understand the term “supporting
                                    16
                                         piece” in the context of the ‘622 patent to understand that the supporting piece is heat
                                    17
                                         resistant, and designed to support electrical components of the claimed e-cigarette
                                    18
                                         because the supporting piece has to hold up the heat equalizer.
                                    19

                                    20
                                         9
                                             Publicly available at the web URL: https://www.dictionary.com/browse/support
                                    21
                                                                                          13
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                                      George E. Yanulis
                                          M. E N G ., M.S., D. E N G .
                                              216 – 571 – 1532
                                       GEORGEYANULIS55@GMAIL.COM
                        19103 CRESENZO CT, APT 306, FORT MYERS, FL 33967
            WWW .L INKED I N . COM / IN /Y ANULIS | WWW .GYM EDICAL D EVICE C ONSULTING . COM




PROFESSIONAL ACTIVITIES

06/2014–Present: MEDICAL DEVICE CONSULTING LLC-President/Principal Engineer, Ft Myers, FL -
Clinical Engineering/Medical Device Consultant Expert - including consulting on heart bypass systems
and involved in the research & development of a heart failure therapy monitoring system
01/2015-12/2017: Temple University - Adjunct Professor, Bioengineering Engineering Department
03/2014–Present: B. H. Barkalow & Associates-Clinical Engineering Consultant, Newaygo, MI
11/2010–Present: Laughlin Engineering Firm, LLC, Senior Medical Device Consultant
08/2009-12/2013: College of Staten Island, Adjunct Faculty, Engineering and Physics Department

10/2008–3/2009: Cleve Med (Cleveland Medical Devices Inc.), Consultant on a NIH design Grant related to
ECG electrode design

08/2005–08/2008: Cleveland Clinic Foundation, Doctoral Student in Applied Biomedical Engineering,
Pre- and Post-Doctoral Associate and Research Assistant-Doctorate in Engineering, Cleveland State
University/Cleveland Clinic, 8/2008

08/2000–07/2002: University of Pittsburgh, Pittsburgh, PA Graduate Student and Research
Assistant/Teaching Assistant - Master of Science (Bioengineering), University of Pittsburgh, 5/2002

05/1999–06/2000: University of Pennsylvania Health System, Philadelphia, PA
Clinical Engineering Consultant

08/1997-0/8/2000: Drexel University, Graduate Student in Biomedical Engineering and Teaching
Assistant

10/1996 – 05/1997 – James A. Haley Veterans Hospital, Tampa, Florida Research Assistant - conducted
pulse oximetry research under the direction of John E. Scharf, MD

08/1990-08/1994: University of Alabama at Birmingham-Research Assistant & Graduate Student in
Biomedical Engineering

4/1989-8/1990: SUNY at Upstate, Syracuse, NY, Research Assistant

10/1987-3/1989: Malcolm F Grow AFB, MD, USAF Active Reserves, 1st Lt & Clinical Engineer, Received
Honorable Discharge

5/1986-10/1987: RCA-Moorestown Logistics Engineer, Moorestown, NJ

5/1985-5/1986: Philadelphia Naval Shipyard, US Naval Logistics Engineer
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                                    George E. Yanulis                                            2
                                    M. E N G ., M.S., D. E N G .
08/1983-3/1984: Matriculated as Osteopathic Medical Student, Chicago, IL

05/1982-8/1983: US patent and Trademark Office - Assistant Patent Examiner, US patent and Trademark
Office



EDUCATION

Doctorate in Engineering         Cleveland State University/Cleveland Clinic                  2008
Biomedical Engineering                         Cleveland, OH

Master of Science                          University of Pittsburgh                           2002
Bioengineering                                 Pittsburgh, PA

Master of Engineering                       University of Virginia                            1981
Biomedical Engineering                       Charlottesville, VA

Bachelor of Arts                             Syracuse University                              1977
Premedical Studies/Chemistry                    Syracuse, NY

HEART FAILURE THERAPY/LVAD R&D EXPERTISE

   •   Involved and continue to be involved in the R&D of ventricular assist devices and bridge
       to transplantation & destination devices for both adult and pediatric patients (2016 –
       present)
   •   Have and continue to be involved as a Medical Device Consultant/ Expert Witness (written
       over 30 Expert Reports and have deposed on 6 different occasions)
   •   Extensive expertise in cardiac device implant and ablation device product design and
       design and execution of animal studies, including over 200 implants and 500 physiological
       monitoring studies (canine model).
   •   Have Performed ECG signal detection & cardiac pressure/volume analysis (canine model)
       -2005 – 2008 – Cleveland Clinic Foundation
   •   Provided all engineering analysis and fabrication including participating in the implants in
       the OR (Cleveland Clinic Foundation– 2005-2008)
   •   Expert witness for a Heart Bypass System (2017- 2018)
   •   Reviewed Design History Files for Cardiac Perfusion Systems
   •   Reviewed Quality Assurance Testing and Results for atrial fibribilation (AF) therapy and
       other heart failure (HF) devices
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                                     George E. Yanulis                                                  3
                                     M. E N G ., M.S., D. E N G .
  •   I have been Expert Witness on both cardiac pacemaker and implantable cardioverter-
      defibrillator (ICD) devices for Medtronic; St Jude Medical/Abbott; and Boston Scientific
      (BSCI) and 2 tertiary health systems (over 25 to date)
  •   Evaluated cardiac pacing and ICD lead/system failures
  •   Reviewed cardiac pacing and ICD monitoring sessions
  •   Expertise in the use radio frequency ablation systems for cardiac ablation therapy systems
      as a Consultant (for a health care system) and has part of my doctoral research at the
      Cleveland Clinic
  •   Review of materials related to BSCI cardiac ablation therapy system

  •   Participated in Ablation Therapy Devices/cardiac pacemaker devices being tested on the
      canine model as a doctoral student (Cleveland Clinic 2005-2009) --Doctoral Dissertation
      Link: Yanulis GE. A novel cardiac pacing paradigm for atrial fibrillation and heart failure patients
      [dissertation]. [Cleveland (OH)]: Cleveland State University; 2008 May. 106 p.
  •   Served as a Device Consultant for a startup venture involved in the R&D of an Ablation
      Therapy System as far as the (2018)
  •   Had evaluated clinical users’ needs been satisfied in view of specific end user requirements
      for US and United Kingdom medical device start-up firms, patients, and the clinician.


MEDICAL DEVICE EXPERT WITNESS EXPERIENCES

  •   Performed several Human Factors Analysis on both cardiovascular and orthopedic devices
      (2014-Present)
  •   Expertise in technical file review including the following for atrial ablation therapy system
      (2015); several cardiac pacemaker device cases; ICDs (2014-2016); heart bypass systems
      (2017-2018)
  •   Have been involved in the review of several design history files for cardiac device implants
  •   Evaluated design verification and validation protocols and reports for over 40 different
      medical devices (2014-Present)
  •   Have reviewed over 1000 MAUDE database (refer to separate attachment of selected
      devices which I have served as an Expert Witness/Medical Device Consultant (2011-
      Present)
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                                       George E. Yanulis                                              4
                                       M. E N G ., M.S., D. E N G .
   •   Have    Reviewed      several     MDR(s),     Complaint        Investigations,   CAPA(s),   Non-
       conformance(S) and Change Control(s) for all types of cardiac device and cardiac imaging
       systems (2011 – Present)
   •   Expertise in developing Final Evaluation Report(s) related to their current validation and
       verification tasks and provided recommendations as part of their submission to the FDA
       subsequent to an FDA site visit which had been approved by & Development and Quality
       Review Divisions at BSCI, Therakos, Inc, St. Jude/Abbott, and Medtronic (2012-Present).


Additional Heart failure (HF) therapy device patient expertise
   •   Co-Investigated the implementation of coupled pacing (CP) (a novel pacing paradigm) for
       controlling the ventricular rate of mechanical contraction (VRMC) – 2005 -2008 - Study
       Results demonstrated that acute application of CP resulted in both a negative chronotropic
       (mechanical not electrical rate) and a positive inotropic response during acutely induced
       atrial fibrillation (AF)
       https://www.annalsthoracicsurgery.org/article/S0003-4975(08)00735-2/fulltext
   •   Performed Preclinical Device Trials on cardiac pacing algorithms (Cleveland Clinic, 2005-
       2008)


ADDITIONAL WORK & RESEARCH & DEVELOPMENT WORK RELATED TO LEFT
VENTRICULAR FUNCTION STUDIES

   •   After inducing AF by rapid pacing in six dogs, we applied the following pacing modalities:
       rapid right ventricular (RV) pacing, rapid CRT, CRT with an additional RV paced beat
       (CP) at a specific delay (CRT + CP), and CRT with vagal stimulation (CRT-VS).
   •   Obtained Left ventricular (LV) pressure recordings and echocardiography for 2D strain
       analysis were performed. CRT + CP reduced the ventricular response rate and increased
       the LV systolic pressure and cardiac output compared with CRT alone (Cleveland Clinic,
       2005-2008)
       https://academic.oup.com/europace/article/12/3/430/476248
   •   Mentored and Taught over 200 undergraduate bioengineering students at Temple
       University (2015-2017) in two cardiac systems/physiology coursework in:
           o Systems Physiology- BIOE 5500
                   ▪   Cardiovascular Anatomy & Physiology (materials presented)
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                                 George E. Yanulis                                         5
                                  M. E N G ., M.S., D. E N G .
                 ▪   Cardiovascular Control
                 ▪   Flow in cardiovascular system
         o Cardiac Devices- BIOE 4287 (materials presented)
                 ▪   The Cardiac Conduction System
                 ▪   Cardiac Pacing and Defibrillation
                 ▪   Cardiopulmonary Bypass and Cardioplegia
                 ▪   Animal Models for Cardiac Research
                 ▪   Clinical Trials Formulation
                 ▪   End-Stage Congestive Heart Failure: Ventricular Assist Devices
                 ▪   CADs elated to the design of cardiac valves
                 ▪   FDA cardiac regulated expertise
  •   Reviewed a Heart Bypass Template Risk Analysis and Risk Management Materials (2017-
      2018)
  •   Reviewed System’s Perfusion Bypass Records
  •   Vascular prostheses, artificial hearts/ventricular assist devices, and extracorporeal/
      intravenous oxygenators
  •   Expertise in biocompatibility of cardiac devices and orthopedic devices


MEDICAL DEVICE EXPERT WITNESS EXPERIENCES HARDWARE/SOFTWARE INTERFACE
EXPERTISE/EXPERIENCES

  •   The Philips IntelliVue MX800 Patient Monitor for monitoring, recording, and alarming of
      multiple physiological parameters of adults, pediatrics, and neonates in hospital
      environments by trained health care professionals.
  •   The Philips M3001A MultiMeasurement Module (MMS)
  •   Echocardiographic acquisitions performed with a Vivid 7 machine (GE Healthcare)
  •   cSound 2.0 software beamforming technology used in Vivid 7 machine systems
  •   PDP 11 assembly programming
  •   Collaborated with Data Science Corporation (DSI) on several projects that included
      advanced ECG signal detection and pressure-volume loop analysis (Cleveland Clinic 2018-
      2009)
  •   Expertise in the R&D of Positron-emission tomography (PET) generators and PET
      imaging systems, Radio frequency ablation and mapping systems
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                                     George E. Yanulis                                               6
                                     M. E N G ., M.S., D. E N G .
   •   Expertise in Image Reconstruction Techniques for Computerized Tomographic (CT)
       Coronary Artery Calcium Quantification, Reconstruction methods used in helical and
       multi-slice CT
   •   Expertise in Fourier Analysis of Discrete-Time Signals – Fast-Fourier Transform and
       Discrete Filter Design, Sampling and Discrete-Time Signal Analysis, and
   •   Continuous Time Signal and Non-Continuous Time Signal Analysis

   IMAGING SYSTEMS RELATED COUSEWORK TAKEN

   •   Biomedical Signal Processing
   •   Computation and Modeling in Biomedical Engineering
   •   Cardiovascular systems and dynamic modeling
   •   Computer applications/techniques used in medicine

IMAGING SYSTEMS & CARDIAC DEVICE COUSE WORK TAUGHT (TEMPLE UNIVERSITY –
2015-2017

   •   Biomedical Signal Processing
   •   Cardiac Systems Course

MEDICAL DEVICE EXPERT WITNESS EXPERIENCES INTELLECTUAL PROPERTY
EXPERTISE

   •   I have written 3 Invalidly Reports and Two Infringement Analysis Reports for two medical
       devices
   •   I have been employed as an Assistant Patent Examiner at the U.S. Patent and Trademark
       Office. In that capacity, I examined patent applications for potential novel applications in
       the medical infusion and sharp systems area for such applicants as Baxter Travenol
       Laboratories, Abbott Labs, and other patent applicants (1982-1983). I was enrolled in the
       USPTO’s Patent Examiner’s Training Program and received the USPTO’s Superior
       Achievement Award (May, 1983).

DEPOSITIONS GIVEN BY DR. GEORGE YANULIS AS OF 4/27/2020

Case Name                 Court                     Date Filed              Party
                                                                            Affiliation
Hitachi Medical           United States District    July 31, 2013           South West Mississippi
Systems v. South West     Court Middle District                             Anesthesia, P.A.
Mississippi Anesthesia,   of Louisiana Civil
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                                      George E. Yanulis                                                     7
                                     M. E N G ., M.S., D. E N G .
 P.A.                      Action No. 12-273BAJ-
                           SCR
                           July
 Robert Bowie and          Superior Court of       April 25, 2014                Robert Bowie and
 Susan Bowie v.            Maine Androscoggin                                    Susan Bowie
 Arthrex, Inc. and         County Civil Action
 Surgical Systems, Inc.    No. CV2014-74

 Thomas R. Ruxlow v.       United States District     October 8, 2013            Thomas Ruxlow
 DuPuy Orthopedics,        Court Southern District
 Inc. and Johnson &        of Iowa Central
 Johnson                   Division Civil Action
                           4:13-CV-428
 George Koulas v.          United States District     Dec 27, 2013               George Koulas
 DuPuy Orthopedics,        Court District of
 Inc                       Hawaii Civil No. 13-
                           00713 BMK
 Theotis Latimore v.       STATE OF                   October 30, 2014           Theotis Latimore
 Botsford Hospital, John   MICHIGAN IN THE
 Parmely, D.O., John       CIRCUIT COURT
 Parmely, D.O., P.C.,      FOR THE COUNTY
 Specialist in General     OF OAKLAND
 Surgery, Harun
 Zekirovski, D.O,          Case No. 14-138209-
 Covidien LP and/or        NH
 Covidien PLC,
 formerly known as
 Covidien LTD, and
 Medtronic, Inc.,
 successor corp.
 Jake Lovato,              First Judicial District April 24, 2013                Board of Regents of the
 Individually Lovato       Court County of Santa                                 University of New
 and as Personal           Fe State of New                                       Mexico
 Representative of the     Mexico No. D-101-CV-
 Wrongful Death Estate     201301167
 of Altagracia Gloria
 Lovato (Plaintiffs),

 vs.

 Board of Regents of the
 University of New
 Mexico Board of
 regents of The
 University of New
 Mexico, Defendants.

PUBLICATIONS (PEER REVIEW PUBLICATIONS)

Lim P, Yanulis GE, Verhaert D, Greenberg NL, Grimm RA, Tchou PJ, Lellouche N, Wallick DW.
Coupled pacing improves left ventricular function during simulated atrial fibrillation without mechanical
dyssynchrony. Europace. 2010 Mar;12(3):430-6. doi: 10.1093/europace/eup440
    Case 2:20-cv-02185-DJH             Document 27-1          Filed 11/22/21       Page 23 of 133

                                       George E. Yanulis                                                  8
                                       M. E N G ., M.S., D. E N G .

Yanulis GE, Lim P, Ahmad A, Popović ZB, Wallick DW. Coupled pacing reverses the effects of
persistent atrial fibrillation on the left ventricle. Ann Thorac Surg. 2008 Sep;86(3):984-7. doi:
10.1016/j.athoracsur.2008.03.085

Yanulis GE. A novel cardiac pacing paradigm for atrial fibrillation and heart failure patients
[dissertation]. [Cleveland (OH)]: Cleveland State University; 2008 May. 106 p.

Cingoz F, Yanulis GE, Ching E, Fukamachi K, Wallick DW. Use of conventional dual chamber
pacemakers with custom lead adapters to induce atrial fibrillation or heart failure in dogs. Ann Thorac
Surg. 2007 May;83(5):1858-62.



ABSTRACTS

    — Two abstracts presented on heart failure research at American College of Cardiology meeting
      ▪ March 2008


PRESENTATIONS

    — Rutgers Medical School, Cardiology Department
      ▪ March 2013
    — Rutgers College of Engineering, Biomedical Engineering
      ▪ 2012
    — Cleveland State University
      ▪ April 2008


HONORS / AWARDS

    — Cleveland Clinic Research Innovation Award
      ▪ September 2008
    — Cleveland Clinic Research Innovation Award
      ▪ October 2007
    — Honorable Discharge, USAF Medical Service Corp, 1st
      ▪ March 1989
    — Superior Achievement Award, United States Patent Office
      ▪ 1983
    — Member of Tau Beta Pi Engineering Honorary


PROFESSIONAL AFFILIATIONS / SOCIETIES

    — Association for the Advancement of Medical Instrumentation
    — Heart Rhythm Society
    — IEEE Engineering in Medicine & Biology
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                  EXHIBIT
                    B
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URL             http://www.kynixsemiconductor.com/News/31.html
Date captured   November 22th 2021, 2:55:37PM
Last updated    November 22th 2021, 2:55:37PM
Hash            ecbf6b2b89fd41000c30afc1ca8d4896a6581cc0d3975210d644f67f90aae9ba
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   Industry Information



 Analyzing the Application of Microcontroller in Electronic Technology
 Page Browsing：1455




 Abstract

 Single-chip Microcomputer,also called microcontroller, is not a chip to complete a logical function, but a
 computer system integrated into a chip. It is equivalent to a micro computer. Compared with the computer, t
 microcontroller only lacks the I/O device. In a word, a chip becomes a computer. It is small in size, light in
 quality and cheap in price, and provides convenient conditions for learning, application and development. At
 the same time, learning how to use microcontroller is the best choice to understand the principle and structu
 of the computer.

 The use of microcontroller has been widely used, such as intelligent instrument, real-time industrial control,
 communication equipment, navigation system, household appliances and so on. Once all kinds of products a
 used on single chip, they can play a role in upgrading products. They often use an adjective before the produ
 name, such as intelligent type, such as intelligent washing machine, etc.


 Catalog


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  Composition


  III Working principle of Microcontroller


  IV Application of Microcontroller in Electronic             1. Application in the Field of Household Appliances
  Technology

                                                              2. Application in the Field of Medical Equipment


                                                              3. Application in the Field of Industrial Control
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                                                          4. Application in the Field of Instrument


 V 8051 Microcontroller Basics                            1. What is 8051 Microcontroller?


                                                          2. Function of Microcontroller 8051


                                                          3. 8051 Microcontroller Features


 VI Types of Microcontroller and its Programming          1. The Selection of the Model
 Languages

                                                          2. The Choice of Programming Language


 VII Design and Development of Microcontroller in
 Experimental Plate


 VIII Book Recommendation




I Introduction

MCU (microcontrollers) is an integrated circuit chip is the use of large scale integrated circuit technology to
data processing capability of CPU, RAM, ROM, a variety of I/O port and interrupt system, timer/counter
function (may also include a display drive circuit, pulse width modulation circuitanalog multiplexer the A/D
converter circuit) integrated into a small and complete micro computer system composed of a piece of silicon
widely used in the field of industrial control. From the 80s of last century, the 4-bit and 8-bit singlechip
developed to the present high speed MCU of 300M.




                                            What is a Microcontroller?


II The Characteristics of Microcontroller and Its Basic Composition
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Compared with other embedded system, microcontroller has a small size while the high degree of integration
with high reliability and control function; low power consumption and low voltage, so it is for the
manufacturing and production of portable products; have good scalability and excellent performance, its wid
range of applications, including office automation equipment real time process control, all kinds of instrumen
and medical related equipment, automobile electronic products and computer network communication
technology and so on, thus, SCM is a very strong practical embedded system. The basic composition compris
the following parts:

1. Calculator, the ALU is the core component, the main function is to complete the binary arithmetic and logi
operations, auxiliary equipment operators including TMP, B, accumulator register register ACC, Boolean
processor and program state register mark PSW and so on;




                                          Block Diagram of a 4-bit ALU

2. The neural CPU controller the timing control logic circuit, instruction register and decoder module;

3. Memory, each memory cell in the memory is corresponding to an address, the use of 2 hexadecimal numb
16;

4. Input devices and output devices.


III Working principle of Microcontroller

It can be said that MCU in electronic technology application is more and more popular, thanks to its excellen
storage function, and RAM microcontroller must occur smoothly through the A contact memory accumulator
If you want to transfer all data to the external RAM A only through the accumulator, also in the data reading
process should be through A in order to achieve read accumulator. There is an obvious difference between th
working mechanism and the internal RAM, that is, the internal RAM can transmit and read the data directly, b
the external RAM can not. A microcontroller is a highly integrated circuit chip. The process of executing the
program is the process of executing instructions one by one. The so-called instruction refers to the related
operations that need to be executed by microcomputer, which is written in the form of command. Usually a
basic operation corresponds to one instruction, which is determined by the instruction system of the MCU by
the designer. As the microcontroller follows a particular sequence in the process of execution, so the program
instructions are stored in one by one according to the order of the same, SCM in the execution of the progra
only when these instructions can be executed and then taken out one by one, but requires a program counte
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PC to the instruction address tracing during program execution give the corresponding instruction execution
program address to PC, then gets the PC command will automatically increase the corresponding content,
usually decided by the amount of instruction length.




                                           How Microcontrollers Work?



IV Application of Microcontroller in Electronic Technology

The microcontroller penetrates into every field of our life, and it is almost impossible to find a trace of a
microcontroller in which field. Missile navigation equipment, aircraft instrumentation control, computer
network communications and data transmission, real-time control and data processing of industrial automati
process, extensive use of various smart IC card, civilian-luxury-car security system, video recorder, camera
control, automatic washing machine, and program-controlled toys electronic pets etc. all these cannot do
without scm. Not to mention robots in the field of automatic control, intelligent instruments, medical devices
and all kinds of intelligent machinery. Therefore, the study, development and application of microcontroller w
bring up a batch of computer applications and intelligent control scientists and engineers.Micro-controller is
widely used in the fields of instrumentation, household appliances, medical equipment, intelligent manageme
and process control of aerospace and special equipment, etc..

1. Application in the Field of Household Appliances

Now in the replacement of household appliances, marketing and other aspects, more and more extensive
application of single-chip, such as electronic toys or advanced video games, will use microcontroller to realize
its control function; and the washing machine can use the microcontroller identification the type of clothes a
dirty degree, so as to automatically choose the washing strength and washing time; SCM(Single Chip Micyoco
can control type and degree of recognition in the preservation of food in the refrigerator, realize the automa
selection of refrigeration temperature and storage time; the microwave oven can also automatically determin
the heating temperature and heating time through the single recognition of food species and so on, these
appliances in the application of SCM technology, both the performance and the function, has made great
progress with the traditional technology.
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                                               SCM(Single Chip Micyoco)

2. Application in the Field of Medical Equipment

Modern medical conditions are more and more developed. People pay more and more attention to the
technology of medical sterilization. However, some small hospitals and small clinics in remote areas are still
very simple, so they cannot effectively control the quality of disinfection. With the development of single-chi
technology, its small volume, powerful function, flexible expansibility, convenient application has become
increasingly prominent, therefore, in the medical ventilator analyzer and monitor, ultrasonic diagnostic
equipment and hospital beds call system has been widely used in equipment.

3. Application in the Field of Industrial Control

In fact, the first single is from industry began to rise, since its application in industrial control field is still very
wide, a variety of data acquisition system and intelligent control system using microcontroller technology, su
as intelligent management, factory assembly line of intelligent elevator, alarm system and so on, are based o
technology and computer chip network constitutes a two level control system.

4. Application in the Field of Instrument

As mentioned above, SCM has the characteristics of high integration, small volume, strong control function a
flexibility of expansion, and has fast processing speed and high reliability, so it is widely applied in the field o
intelligent instrumentation. To some extent, driven by a microcomputer control instrument technology
revolution, the traditional measurement, through the MCU technology to realize the integration of digital and
intelligent instrument technology and multi function, compared with the traditional electronic circuits or digi
circuit, the more powerful and comprehensive more prominent.
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V 8051 Microcontroller Basics

1. What is 8051 Microcontroller?

8051 is an 8-bit family of microcontroller developed by Intel in the year 1981. This is one of the most popular
family of microcontroller being used all across the world. This microcontroller was also referred as “system
a chip” because it has 128 bytes of RAM, 4Kbytes of ROM, 2 Timers, 1 Serial port, and four ports on a single
chip. The CPU can work for only 8bits of data at a time because 8051 is an 8-bit processor. In case the data is
larger than 8 bits then it has to be broken into parts so that the CPU can process conveniently. Most
manufacturers have put 4Kbytes of ROM even though the quantity of ROM can be exceeded up to 64 K byte




                                    Internal Architecture of 8051 Microcontroller

2. Function of Microcontroller 8051

(1) 8 bit data bus, 16 bit address bus CPU;

(2) Has Boolean processing ability and bit processing ability;

(3) The Harvard structure, the program memory and the data memory address space are independent, and th
program is easy to be designed.

(4) The 64KB program memory of the same address and the 64KB data memory;

(5) 0-8KB program memory (8031 no, 8051 with 4KB, 8052 with 8KB, 89C55 with 20KB); Data memory in

(6) 128 bytes (8051 with 256 bytes);

(7) 32 bi-directional I/O lines that can be addressed by bit.

(8) Two 16 bit timing / counter (8052 with 3);

(9) A full duplex serial I/O interface;

(10) The interruption structure of more than 10. interrupt sources has two interrupt priorities.

(11) Internal clock oscillator

3. 8051 Microcontroller Features
         Case 2:20-cv-02185-DJH           Document 27-1         Filed 11/22/21      Page 32 of 133
(1) The microprocessor (CPU) is the core.

(2) The CPU is connected to the other components through the three bus.

(3) Bus: an information transmission line that serves multiple components


VI Types of Microcontroller and its Programming Languages

1. The Selection of the Model

At present, there are many kinds of singlechip, such as 8051, PIC, MS430, AVR and so on. Although the
microcontroller model is different, the internal resources of the chip are all similar, and the use of these
resources is very similar. It can be said to learn one kind, other kinds are all together. The 8051 series is the o
model. Although the MCU is not the most powerful, it is the most widely used teaching resource, and the
software support and hardware development are very mature. For beginners, we choose the AT89S52 model
that has the online programming function of ISP.




                                        Common Types of Microcontrollers

2. The Choice of Programming Language

As compared to MCU C language and assembly language, has the instruction system of the microcontroller
does not require any knowledge, can be used directly in C programming language with operation MCU;
modular programming technology is convenient, which has been programmed is very easy to transplant; MC
C language commonly used grammar less useful for writing small fast programs etc., we choose C language a
a programming language.


VII Design and Development of Microcontroller in Experimental Plate

Singlechip is a very practical, very hands-on course. MCU learning method is the most effective both in theor
and practice study, side drill, step by step, which can be used to understand and grasp the instruction.
Therefore, before the design of the teaching project, we must first design and develop the experimental boar
for learning, so that every teaching project can be completed on the experimental board. The experimental
board can be bought off the shelf, and it can also be designed according to the actual needs of the teaching.
the process of compiling, we designed and developed 5 modules for experiment based on teaching needs.
They are single-chip module, instruction module, LED display module, seven segment digital tube module an
LCD display module.
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The project of "design of delay light" is described as follows: using a P1.0 foot of a microcontroller to control
light-emitting diode, and lighting up and flickering according to the 1s interval, namely the design of the del
lamp. At the same time, the learning objectives are as follows:

(1) understanding the basic structure of the C language program.




                                           The structure of a C Program

(2) learn the while () statement, the for statement and the use of no parameter functions.

(3) learn to enter the simulation and debug state of Kiel software, and use the parameters of the "sec" colum
in the register window to calculate the related time of the program execution.

This allows students to clarify the tasks and relevant knowledge that the teaching project requires from the
beginning, that is, learning objectives are specific and clear.


VIII Book Recommendation

1. Microcontrollers and Microcomputers Principles of Software and Hardware Engineering

Microcontrollers and Microcomputers: Principles of Software and Hardware Engineering, Second Edition, is a
ideal introductory text for an embedded system or microcontroller course. While most texts discuss only one
specific microcontroller, this book offers a unique approach by covering the common ground among all
microcontrollers in one volume. Since the text does not focus on a particular processor, it can be used with
processor-specific material--such as manufacturer's data sheets and reference manuals--or with texts, includi
author Fredrick M. Cady's Software and Hardware Engineering: Motorola M68HC11 or Software and Hardwar
Engineering: Motorola M68HC12. Now fully updated, the second edition covers the fundamental operation o
standard microcontroller features, including parallel and serial I/O interfaces, interrupts, analog-to-digital
conversion, and timers, focusing on the electrical interfaces as needed. It devotes one chapter to showing ho
a variety of devices can be used, and emphasizes C program software development, design, and debugging.

                                                                                      --Frederick M Cady (Auth

2. Microcontroller-Based Projects, 2nd Edition
           Case 2:20-cv-02185-DJH            Document 27-1        Filed 11/22/21     Page 34 of 133
This Book is collection of 51 microcontrollers-based projects, which appeared in Electronics For You from 200
to 2013. It is a compilation of 51 construction projects tested at EFY Labs. This is the second edition of the
Microcontroller Based Project book. Therefore, it has all the materials covered in the first edition, and also
includes 25 new projects with some new microcontrollers not covered in the first edition. This book, a collect
of 51 microcontroller-based projects, which appeared in Electronics For You during 2001-2012 is brought out
for the benefit of our new readers.The book has been divided into five sections same as in the first edition viz
Security Systems, Domestic Applications, Industrial Applications, Measurement, Display Systems and Robotic
However, many new projects have been introduced in second edition.

                                                                                    --EFY Enterprises Pvt Ltd (Auth


You May Also Like:

What Are the Essential Differences Between PLC and Microcontrollers?

Ordering & Quality

   Photo        Mfr. Part #        Company                 Description          Package             PDF          Qty



                                                                                                                87640
                                                   DIODE SCHOTTKY 30V 15A      TO-277, 3-
              SS15P3S-M3/86A        Vishay                                                    SS15P3S-M3/86A
                                                   TO277A                      PowerDFN                         Inquir
                                                                                                 Datasheet




                                                                                                                 270
                                    Lattice                                                      LFE2-6SE-
             LFE2-6SE-5FN256C                      IC FPGA 190 I/O 256BGA       256-BGA
                                 Semiconductor                                                   5FN256C        Inquir
                                                                                                 Datasheet




                                                                                                                 3739
                                                   IC MCU 8BIT 10KB FLASH      48-VFQFN
              MC9S08LL8CGT           NXP                                                      MC9S08LL8CGT
                                                   48QFN                      Exposed Pad                       Inquir
                                                                                                Datasheet




                                                                                                                  69
                                                   IC MPU MPC85XX 667MHZ
             MPC8544CVTALFA     NXP / Freescale                                    BGA        MPC8544CVTALFA
                                                   783FCBGA                                                     Inquir
                                                                                                 Datasheet




                                                                                                                 2254
                                                                                 20-SSOP
                                                   IC SIGNAL LINE
               MAX4507EAP       Maxim Integrated                                  (0.209",      MAX4507EAP
                                                   PROTECTOR 20-SSOP
                                                                              5.30mm Width)
                                                                                                                Inquir
                                                                                                 Datasheet




             K9F4G08UOA-P1BO      SAMSUNG          4G-bit NAND Flash Memory                                      5960
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                                                                                 a




   Microphones can generally be classified according to their transducer type,
             diaphragm size, polar patterns and preamp circuitry.



Transducer Types
A transducer is a device that converts energy from one type to another. In
microphones, this transducer is known as a “capsule” and is responsible for
turning sound waves into an electrical signal.

Microphones can employ a number of different types of capsules. The most
commonly used capsules for recording applications are dynamic, condenser and
ribbon.

Dynamic microphones are typically robust, inexpensive and less sensitive to
ambient sound, making them ideal for use in settings where they may be subject
to intense handling and/or damage or where rejection of nearby sound sources
is important.

Condenser microphones are the most commonly used type for recording
applications due to their sensitivity to sound. This sensitivity is created by
charging the condenser element with an electrical current either via a battery or
phantom power. 48 volts of phantom power is typically available on a mixer’s
microphone preamps as well as most standalone microphone preamps.

Ribbon microphones are the most fragile of the three capsule types mentioned
here due to the suspension of a very thin ribbon element within the capsule. The
delicacy of this design makes ribbon microphones exceptionally well suited for
picking up the nuances of intricate sound sources. Recent technological
advancements have helped to improve the sturdiness of the ribbon design
significantly and it is now much lauded by contemporary engineers for recording
guitar amplifiers and other high sound pressure level (SPL) sources.


Polar Patterns
A polar or “pickup” pattern is the shape of the area that a given microphone is
able to “pick up” sound. A microphone capsule’s polar response area is different
across all frequencies.
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Most microphones are single pattern, in that they will pick up sound from one
area. Some microphones are multi-pattern, in that the user can select the polar
pattern that is most useful for a particular application. The most common polar
patterns are cardioids, supercardioid, hypercardioid, omnidirectional and bi-
directional or “Figure 8”.

The cardioid polar pattern is the most common because it is effective at
capturing sound only in front of the diaphragm, reducing unwanted external
reflections, leakage or “bleeding” from other sound sources such as other
vocalists, instruments or equipment. In general, directional polar patters are used
to reject unwanted ambient sound, and less directional patters are used to
capture more ambient sound.

Professional recording studios often employ isolation booths to eliminate this
problem, but awareness of your surroundings and patience, forethought and
experimentation in microphone positioning can still yield excellent results.

To determine which microphone/polar pattern to use, it is important to have an
understanding of your recording environment and its inherent and adaptable
acoustic properties.
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Diaphragm Size
The diaphragm is the component of the microphone capsule that vibrates in
response to sound waves. Diaphragm material, design, thickness and diameter
—or size—all help to determine a microphone’s frequency, transient and polar
responsiveness.

Diaphragms can be categorized into three sizes—large, medium and small.
Larger diaphragm microphones are typically more sensitive due to their
increased surface area, but also have a more limited frequency response since
sound waves have to move more mass.

Small diaphragm microphones are capable of handling higher sound pressure
levels due to their stiffer diaphragms. They also have an increased frequency
response, particularly in the higher end of the frequency spectrum. Their
decreased sensitivity relative to large diaphragm microphones makes them less
susceptible to proximity effect and ambient noise due to their directional
characteristics.



Preamp Circuitry
Sound that has been converted into an electric signal by the microphone capsule
is of a very low level and requires pre-amplification before it is again amplified by
a microphone preamp. The design of this preamp circuitry is one of the defining
characteristics of any microphone.

There are two basic types of microphone preamps, field effect transistors (FETs)
and vacuum tubes. As solid state devices, FET circuits are typically rugged,
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efficient and low noise, resulting in clean, responsive and predictable
performance. These qualities make FET microphones versatile for a variety of
recording applications.

Vacuum tubes, while less efficient, are popular for their ability to produce
harmonic content as a result of saturation of the tube circuit, which results in a
“warm” sound characterized by fullness and depth. This attribute makes them a
favorite for recording vocals. Tubes perform at their best after they have been in
use for an hour or more and the tube has had sufficient time to warm up.

All microphones should be handled with care, but tube microphones are
particularly fragile and extra care should be exercised in setup, use and storage.
Tubes also wear out with time and need to be replaced. Fortunately, this can
generally be done by the user.




Room Acoustics
The orientation of the microphone relevant to the acoustic space is an important
variable in microphone positioning. “Room sound” can add a unique and
desirable character to recorded tracks, particularly when acoustic elements such
as absorption, diffusion and reflection are accounted for in the architectural
design. This is the case in many recording studios, houses of worship, concert
halls and performing arts centers.

However, not all engineers have the luxury of such recording environments and
must adjust their microphone positioning techniques accordingly. It is
nevertheless possible to minimize the effect of less optimal environments
through a variety of methods. One particular variable to consider is unwanted
reflections. Here are some suggestions to minimize its effect:
  Move the sound source (e.g. a vocalist) back from hard surfaces in order to
  allow strong sonic reflections to fall off in intensity before reaching the
  microphone
  Use acoustic baffles to help isolate the vocalist
  Use a mic-stand mountable reflection filter
  Install acoustic treatment materials
  Reduce the distance between the sound source and the microphone
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This last suggestion above—reducing the distance between the vocalist and the
microphone—can help to increase the ratio of direct sound to indirect sound, i.e.
sound that has reflected off of another surface before arriving at the microphone,
as well as increasing the signal to noise ratio—minimizing the amount of
unwanted sound by maximizing the volume of the sound you want to record.

Acoustics is a complex science worthy of a series of articles. The important thing
to recognize is that sound travels in all directions and is absorbed, diffused and
reflected by every surface to varying degrees. Simple awareness of this
phenomenon will help you manage the impact of your environment on your
recordings.




  Bob Rock, musician, engineer and producer for such legends as Metallica, Motley Crue,
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For many engineers and recording artists, using microphones is the most
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applications and their undeniable influence on the final sound of any recording.
Knowing a little about why microphones are designed the way they are and how
they have been used to capture some of your favorite music will give you
valuable insight into using them most effectively. Microphones are also
electronics. As transducers, they convert acoustic energy into electrical energy
and are therefore subject to the same electrical properties that govern other
electronics. A basic understanding of electricity can go a long way in helping you
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to get the most from your microphones and overcome the challenges that can be
associated with acoustics and the transfer and processing of electrical energy.

Using microphones requires a unique blend of art and science to achieve the
best results. Fortunately, generations of audio engineers have created a bank of
useful knowledge upon which to draw. This information is a great place to start
as you learn to develop your own style and technique for using microphones.
Just remember that the some of the most influential techniques in use today
were a result of continuous experimentation. Don’t be afraid to try something
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URL             https://en.wikipedia.org/wiki/Construction_of_electronic_cigarettes
Date captured   November 22th 2021, 2:47:41PM
Last updated    November 22th 2021, 2:47:41PM
Hash            9203944c2f8bd171252dbf7b9237bfb7defb443a208e1e92e4edae1f67d886e1
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Construction of electronic cigarettes
From Wikipedia, the free encyclopedia
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Disassembled parts of a first-generation e-
cigarette.
A. LED light cover
B. battery (also houses circuitry)
C. atomizer (heating element)
D. cartridge (mouthpiece)




Parts of a second-generation e-cigarette.

An electronic cigarette is a handheld battery-powered vaporizer that simulates smoking, but without tobacco combustion.[1] E-cigarette
components include a mouthpiece (drip tip[2]), a cartridge (liquid storage area), a heating element/atomizer, a microprocessor, a battery,
and some of them have an LED light on the end.[3] An exception to this are mechanical e-cigarettes (mods) which contain no electronics
and the circuit is closed by using a mechanical action switch.[4] An atomizer consists of a small heating element, or coil, that vaporizes e-
liquid and a wicking material that draws liquid onto the coil.[5] When the user inhales a flow sensor activates the heating element that
atomizes the liquid solution;[6] most devices are manually activated by a push-button.[7] The e-liquid reaches a temperature of roughly
100–250 °C (212–482 °F) within a chamber to create an aerosolized vapor.[8] The user inhales an aerosol, which is commonly but
inaccurately called vapor, rather than cigarette smoke.[9] Vaping is different from smoking, but there are some similarities, including the
hand-to-mouth action of smoking and a vapor that looks like cigarette smoke.[1] The aerosol provides a flavor and feel similar to tobacco
smoking.[1] A traditional cigarette is smooth and light but an e-cigarette is rigid, cold and slightly heavier.[1] There is a learning curve to
use e-cigarettes properly.[10] E-cigarettes are cigarette-shaped,[11] and there are many other variations.[12] E-cigarettes that resemble pens
or USB memory sticks are also sold that may be used unobtrusively.[13]

There are three main types of e-cigarettes: cigalikes, looking like cigarettes; eGos, bigger than cigalikes with refillable liquid tanks; and
mods, assembled from basic parts or by altering existing products.[14] Cigalikes are either disposable or come with rechargeable batteries
and replaceable nicotine cartridges.[15] A cigalike e-cigarette contains a cartomizer, which is connected to a battery.[16] A "cartomizer" (a
portmanteau of cartridge and atomizer[17]) or "carto" consists of an atomizer surrounded by a liquid-soaked poly-foam that acts as an e-
liquid holder.[5] Clearomizers or "clearos", not unlike cartotanks, use a clear tank in which an atomizer is inserted.[18] A rebuildable
atomizer or an RBA is an atomizer that allows users to assemble or "build" the wick and coil themselves instead of replacing them with
off-the-shelf atomizer "heads".[19] The power source is the biggest component of an e-cigarette,[20] which is frequently a rechargeable
lithium-ion battery.[12]

As the e-cigarette industry continues to evolve, new products are quickly developed and brought to market.[21] First-generation e-
cigarettes tend to look like traditional cigarettes and so are called "cigalikes".[19] Most cigalikes look like cigarettes but there is some
variation in size.[16] Second-generation devices are larger overall and look less like traditional cigarettes.[22] Third-generation devices
include mechanical mods and variable voltage devices.[19] The fourth-generation includes sub ohm tanks and temperature control
devices.[23] The voltage for first-generation e-cigarettes is about 3.7[24] and second-generation e-cigarettes can be adjusted from 3 V to
6 V,[25] while more recent devices can go up to 8 V.[24] The latest generation of e-cigarettes are pod mods,[26] which provide higher
levels of nicotine than regular e-cigarettes[27] through the production of aerosolized protonated nicotine.[28]
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E-liquid is the mixture used in vapor products such as e-cigarettes[29] and usually contain propylene glycol, glycerin, nicotine, flavorings,
additives, and differing amounts of contaminants.[30] E-liquid formulations greatly vary due to fast growth and changes in manufacturing
designs of e-cigarettes.[16] The composition of the e-liquid for additives such as nicotine and flavors vary across and within brands.[31]
The liquid typically consists of a combined total of 95% propylene glycol and glycerin, and the remaining 5% being flavorings, nicotine,
and other additives.[32] There are e-liquids sold without propylene glycol,[33] nicotine,[34] or flavors.[35] The flavorings may be natural,
artificial,[31] or organic.[36] Over 80 chemicals such as formaldehyde and metallic nanoparticles have been found in the e-liquid.[37]
There are many e-liquids manufacturers in the US and worldwide,[38] and more than 15,500 flavors existed in 2018.[39] Under the US
Food and Drug Administration (FDA) rules, e-liquid manufacturers are required to comply with a number of manufacturing
standards.[40] The revision to the EU Tobacco Products Directive has some standards for e-liquids.[41] Industry standards have been
created and published by the American E-liquid Manufacturing Standards Association (AEMSA).[42]

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Use[ edit ]
Function[ edit ]




A later-generation box mod e-
cigarette.

An e-cigarette is a handheld battery-powered vaporizer that simulates smoking, but without tobacco combustion.[1] Once the user
inhales, the airflow activates the flow sensor, and then the heating element atomizes the liquid solution.[6] The different kinds of trigger
sensor or sensors used are acoustic, pressure, touch, capacitive, optical, Hall Effect or electromagnetic field.[43] Most devices have a
manual push-button switch to turn them on or off.[7] E-cigarettes do not turn on by trying to "light" the device with a flame.[12] The e-
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liquid reaches a temperature of roughly 100-250 °C within a chamber to create an aerosolized vapor.[8] However, variable voltage
devices can raise the temperature.[31] A glycerin-only liquid vaporizes at a higher temperature than a propylene glycol-glycerin liquid.[31]
Rather than cigarette smoke, the user inhales an aerosol, commonly but inaccurately called vapor.[9] E-cigarettes do not create vapor
between puffs.[44]

Perception[ edit ]
Vaping is different from tobacco smoking, but there are some similarities with their behavioral habits, including the hand-to-mouth
action and a vapor that looks like cigarette smoke.[1] E-cigarettes provide a flavor and feel similar to smoking.[1] A noticeable difference
between the traditional cigarette and the e-cigarette is sense of touch.[1] A traditional cigarette is smooth and light but an e-cigarette is
rigid, cold and slightly heavier.[1] Since e-cigarettes are more complex than traditional cigarettes, a learning curve is needed to use them
correctly.[10]

Compared to traditional cigarettes, the general e-cigarette puff time is much longer, and requires a more forceful suction than a regular
cigarette.[45] The volume of vapor created by e-cigarette devices in 2012 declined with vaping.[1] Thus, to create the same volume of
vapor increasing puff force is needed.[1] Later-generation e-cigarettes with concentrated nicotine liquids may deliver nicotine at levels
similar to traditional cigarettes.[46] Many e-cigarette versions include a power[disambiguation needed] control to adjust the volume of vapor
created.[12] The amount of vapor produced is controlled by the power from the battery, which has led some users to adjust their devices
to increase battery power.[8] Larger percentages of glycerin in e-liquid also increase vapor production.[47]

Construction[ edit ]




An ordinary cigarette compared to
a "cigalike" e-cigarette.

E-cigarettes come in many variations,[12] such as cigarette-shaped, pen-shaped, and tank-shaped styles.[11] Some e-cigarettes look like
traditional cigarettes, but others do not.[10] There are three main types of e-cigarettes: cigalikes, looking like cigarettes; eGos, bigger than
cigalikes with refillable liquid tanks; and mods, assembled from basic parts or by altering existing products.[14]

E-cigarette components include a mouthpiece, a cartridge (liquid storage area), a heating element/atomizer, a microprocessor, a battery,
and some have a LED light on the end.[3] An exception to this are mechanical e-cigarettes (mods) which contain no electronics and the
circuit is closed by using a mechanical action switch.[4] E-cigarettes are sold in disposable or reusable variants.[14] Most versions are
reusable, though some are disposable.[48] They range in cost from under $10 to over $200.[49] An entry-level reusable e-cigarette costs
around $25.[50] Disposable e-cigarettes are discarded once the liquid in the cartridge is used up, while rechargeable e-cigarettes may be
used indefinitely.[51] Even with rechargeable cigarettes (pod-based systems) however, there is a risk of littering.[52][53] However, there
are some thoughts on how to prevent pods from ending up in the environment (i.e. a deposit-system for e-cigarette pods) and we should
remember that cigarette butts currently also pollute the environment.[54] One piece devices are normally disposable.[55] E-cigarettes are
typically designed as one, two, three or multiple pieces.[55] A disposable e-cigarette lasts to around 400 puffs.[56] Reusable e-cigarettes
are refilled by hand or exchanged for pre-filled cartridges, and general cleaning is required.[12] A wide range of disposable and reusable
e-cigarettes exist.[43] Disposable e-cigarettes are offered for a few dollars, and higher-priced reusable e-cigarettes involve an up-front
investment for a starter kit.[10] Some e-cigarettes have a LED at the tip to resemble the glow of burning tobacco.[46] The LED may also
indicate the battery status.[1] The LED is not generally used in personal vaporizers or mods.[3]

First-generation e-cigarettes usually simulated smoking implements, such as cigarettes or cigars, in their use and appearance.[19] Later-
generation e-cigarettes often called mods, PVs (personal vaporizer) or APVs (advanced personal vaporizer) have an increased nicotine-
dispersal performance,[19] house higher capacity batteries, and come in various shapes such as metal tubes and boxes.[57] They contain
silver, steel, metals, ceramics, plastics, fibers, aluminum, rubber and spume, and lithium batteries.[58] A growing subclass of vapers
called cloud-chasers configure their atomizers to produce large amounts of vapor by using low-resistance heating coils.[59] This practice
is known as cloud-chasing.[60] Many e-cigarettes are made of standardized replaceable parts that are interchangeable between brands.[61]
A wide array of component combinations exists.[62] Many e-cigarettes are sold with a USB charger.[63] E-cigarettes that resemble pens or
USB memory sticks are also sold for those who may want to use the device unobtrusively.[13]

The increasing numbers of new vaping products combined with unrelated functions attest to a clear trend toward customization of e-
cigarettes.[64] It seems that experienced users like to adopt the e-cigarette to their (inhalation) needs, leading to e-cigarettes with adjusted
airflow inlet using atomizer heads with different sized air holes.[64] This is applied in the most recently introduced models, which are
activated by a pressure difference when the user inhales from the e-cigarette, avoiding pressing a button to heat the device.[64] Other
interesting new e-cigarette-like devices provide a combined function with other electronic products such as a Bluetooth e-cigarette,
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which combines vaping with listening to music or calling friends and another device can be used both as e-cigarette and mobile
phone.[64]

Moreover, smartphone applications were introduced that track the number of e-cigarette puffs taken, calculate cost savings and increased
life expectancy, and have features such as auto-shut down and password protection safety.[64] In line with this, Philip Morris
International has filed a patent for an e-cigarette that is Wi-Fi connected, and thus would be able to connect to other devices.[64] This
device could potentially synchronize to a smartphone application that is intended to help people quit smoking, and carefully track their
progress.[64] A similar product is the Vaporcade Jupiter, a "cellular vaporizer," combining a smartphone with an e-cigarette.[64] This
allows the user to monitor the e-cigarette use, the e-liquid remaining, and the flavor used.[64]

Device generations[ edit ]
As the e-cigarette industry continues to evolve, new products are quickly developed and brought to market.[21] The early devices looked
like a traditional cigarette, often including a small light on the tip that lit when the user puffed.[65] These early systems were generally
inefficient at delivering nicotine, in part because the particle sizes of the aerosol were too large to penetrate deep into the lungs.[65]
Newer versions feature replaceable or refillable reservoirs and rechargeable batteries that generate smaller particles and more efficient
nicotine delivery.[65] Since e-cigarettes are not regulated in many countries, the device designs can change often.[66] There is wide
differences in the quality of e-cigarettes, such as the airflow rate, aerosol production, and leaking of e-liquid cartridges.[67]

First-generation[ edit ]




Various types of e-cigarettes,
including an e-cigarette designed
to look like a tobacco cigarette, an
e-cigar, and an e-pipe.

First-generation e-cigarettes tend to look like tobacco cigarettes and so are called "cigalikes".[19] The three parts of a cigalike e-cigarette
initially were a cartridge, an atomizer, and a battery.[16] A cigalike e-cigarette currently contains a cartomizer (cartridge atomizer), which
is connected to a battery.[16] Most cigalikes look like cigarettes but there is some variation in size.[16]

They may be a single unit comprising a battery, coil and filling saturated with e-liquid in a single tube to be used and discarded after the
battery or e-liquid is depleted.[19] They may also be a reusable device with a battery and cartridge called a cartomizer.[22] The cartomizer
cartridge can be separated from the battery so the battery can be charged and the empty cartomizer replaced when the e-liquid runs
out.[19]

The battery section may contain an electronic airflow sensor triggered by drawing breath through the device.[22] Other models use a
power button that must be held during operation.[22] An LED in the power button or on the end of the device may also show when the
device is vaporizing.[68]

Charging is commonly accomplished with a USB charger that attaches to the battery.[69] Some manufacturers also have a cigarette pack-
shaped portable charging case (PCC), which contains a larger battery capable of recharging the individual e-cigarette batteries.[70]
Reusable devices can come in a kit that contains a battery, a charger, and at least one cartridge.[70] Varying nicotine concentrations are
available and nicotine delivery to the user also varies based on different cartomizers, e-liquid mixtures, and power supplied by the
battery.[11]

These manufacturing differences affect the way e-cigarettes convert the liquid solution to an aerosol, and thus the levels of ingredients,
that are delivered to the user and the surrounding air for any given liquid.[11] First-generation e-cigarettes use lower voltages, around 3.7
V.[24]

Second-generation[ edit ]
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Second-generation PV.

Second generation devices tend to be used by people with more experience.[22] They are larger overall and look less like tobacco
cigarettes.[22] They usually consist of two sections, basically a tank and a separate battery. Their batteries have higher capacity, and are
not removable.[19] Being rechargeable, they use a USB charger that attaches to the battery with a threaded connector. Certain batteries
have a "passthrough" feature so they can be used even while they are charging.[5][71]

Second-generation e-cigarettes commonly use a tank or a "clearomizer".[22] Clearomizer tanks are meant to be refilled with e-liquid,
while cartomizers are not.[19] Because they're refillable and the battery is rechargeable, their cost of operation is lower.[19] However, they
can also use cartomizers, which are pre-filled only.[19]

Some cheaper battery sections use a microphone that detects the turbulence of the air passing through to activate the device when the
user inhales. Other batteries like the eGo style can use an integrated circuit, as well as a button for manual activation. The LED shows
battery status. The power button can also switch off the battery so it is not activated accidentally.[72] Second generation e-cigarettes may
have lower voltages, around 3.7 V.[24] However, adjustable-voltage devices can be set between 3 V and 6 V.[25]

Third-generation[ edit ]




Third-
generation PV.

The third-generation includes mechanical mods and variable voltage devices.[73][74] Battery sections are commonly called "mods,"
referencing their past when user modification was common.[19] Mechanical mods do not contain integrated circuits.[74] They are
commonly cylindrical or box-shaped, and typical housing materials are wood, aluminium, stainless steel, or brass.[75] A larger "box
mod" can hold bigger and sometimes multiple batteries.[75]

Mechanical mods and variable devices use larger batteries than those found in previous generations.[76] Common battery sizes used are
18350, 18490, 18500 and 18650.[77] The battery is often removable,[74] so it can be changed when depleted. The battery must be
removed and charged externally.[74]

Variable devices permit setting wattage, voltage, or both.[5][74] These often have a USB connector for recharging; some can be used
while charging, called a "passthrough" feature.[5][78]

The power section may include additional options such as screen readout, support for a wide range of internal batteries, and compatibility
with different types of atomizers.[22] Third-generation devices can have rebuildable atomizers with different wicking materials.[19][22]
These rebuildables use handmade coils that can be installed in the atomizer to increase vapor production.[76] Hardware in this generation
is sometimes modified to increase power or flavor.[79]

The larger battery sections used also allow larger tanks to be attached that can hold more e-liquid.[75] Recent devices can go up to 8 V,
which can heat the e-liquid significantly more than earlier generations.[24]

Fourth-generation[ edit ]
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Fourth-generation PV.

A fourth-generation e-cigarette became available in the United States in 2014.[46] Fourth-generation e-cigarettes can be made from
stainless steel and pyrex glass, and contain very little plastics.[23] Included in the fourth-generation are sub ohm tanks and temperature
control devices.[23] The e-cigarette user can breathe in large puff volumes, which results in a significant usage of e-liquid per puff.[80]
Usually used by experienced e-cigarettes users.[81]

Atomizer and tank[ edit ]




Inside view of an e-
cigarette atomizer with the
coil (heating element).

An atomizer consists of a small heating element that vaporizes e-liquid and a wicking material that draws liquid onto the coil. Along with
a battery and e-liquid the atomizer is the main component of every personal vaporizer.[22] When activated, the resistance wire coil heats
up and vaporizes the liquid, which is then inhaled by the user.[82]

The electrical resistance of the coil, the voltage output of the device, the airflow of the atomizer and the efficiency of the wick all affect
the vapor coming from the atomizer.[83] They also affect the vapor quantity or volume yielded.[83]

Atomizer coils made of kanthal usually have resistances that vary from 0.4Ω (ohms) to 2.8Ω.[83] Coils of lower ohms have increased
vapor production but could risk fire and dangerous battery failures if the user is not knowledgeable enough about electrical principles and
how they relate to battery safety.[84]

Wicking materials vary from one atomizer to another.[85] "Rebuildable" or "do it yourself" atomizers can use silica, cotton, rayon, porous
ceramic, hemp, bamboo yarn, oxidized stainless steel mesh and even wire rope cables as wicking materials.[85]

Cartomizers[ edit ]



A 45mm length, extra-long
cartomizer.

A "cartomizer" (a portmanteau of cartridge and atomizer.[17]) or "carto" consists of an atomizer surrounded by a liquid-soaked poly-foam
that acts as an e-liquid holder.[5] They can have up to 3 coils and each coil will increase vapor production.[5] The cartomizer is usually
discarded when the e-liquid starts to taste burnt, which usually happens when the e-cigarette is activated with a dry coil or when the
cartomizer gets consistently flooded (gurgling) because of sedimentation of the wick.[5] Most cartomizers are refillable even if not
advertised as such.[5]

Cartomizers can be used on their own or in conjunction with a tank that allows more e-liquid capacity.[5] The portmanteau word
"cartotank" has been coined for this.[86] When used in a tank, the cartomizer is inserted in a plastic, glass or metal tube and holes or slots
have to be punched on the sides of the cartomizer so liquid can reach the coil.[5]

Clearomizers[ edit ]
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eGo style e-cigarette with
a top-coil clearomizer.
Silica fibers are hanging
down freely inside of the
tank, drawing e-liquid by
capillary action to the coil
that is located directly
under the mouthpiece.




Box mod e-
cigarette fitted
with a
rebuildable
dripping
atomizer
(RDA).

The clearomizer was invented in 2009 that originated from the cartomizer design.[87] It contained the wicking material, an e-liquid
chamber, and an atomizer coil within a single clear component.[87] This allows the user to monitor the liquid level in the device.[87]
Clearomizers or "clearos", are like cartotanks, in that an atomizer is inserted into the tank.[18] There are different wicking systems used
inside clearomizers.[5] Some rely on gravity to bring the e-liquid to the wick and coil assembly (bottom coil clearomizers for example)
and others rely on capillary action or to some degree the user agitating the e-liquid while handling the clearomizer (top coil
clearomizers).[5] The coil and wicks are typically inside a prefabricated assembly or "head" that is replaceable by the user.[88]

Clearomizers are made with adjustable air flow control.[89] Tanks can be plastic or borosilicate glass.[90] Some flavors of e-liquid have
been known to damage plastic clearomizer tanks.[90]

Rebuildable atomizers[ edit ]




A view of the
RDA deck
showing the
wicks and coils,
e-liquid is
dripped into a
hopper where the
wicks rest as
well as atop the
coil assembly.
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A rebuildable atomizer (RBA) is an atomizer that allows the user to assemble or "build" the wick and coil themselves instead of
replacing them with off-the-shelf atomizer "heads".[19] They are generally considered advanced devices.[91] They also allow the user to
build atomizers at any desired electrical resistance.[19]

These atomizers are divided into two main categories; rebuildable tank atomizers (RTAs) and rebuildable dripping atomizers (RDAs).[92]

Rebuildable tank atomizers[ edit ]

RTAs have a tank to hold liquid that is absorbed by the wick.[93] They can hold up to 4 ml of e-liquid.[94] The tank can be either plastic,
glass, or metal.[90] One form of tank atomizers was the Genesis style atomizers.[93] They can use ceramic wicks, stainless steel mesh or
rope for wicking material.[93] The steel wick must be oxidized to prevent arcing of the coil.[93] Another type is the Sub ohm tank.[94]
These tanks have rebuildable or RBA kits.[94] They can also use coil heads of 0.2 ohm, 0.4 ohm, and 0.5 ohm.[94] These coil heads can
have stainless steel coils.[95]

Rebuildable dripping atomizers[ edit ]

RDAs are atomizers where the e-liquid is dripped directly onto the coil and wick.[96] The common nicotine strength of e-liquids used in
RDA's is 3 mg and 6 mg.[96] Liquids used in RDA's tend to have more vegetable glycerin.[96] A fully saturated wick can give you as
many as 10-20 puffs.[97] They typically consist only of an atomizer "building deck", commonly with three posts with holes drilled in
them, which can accept one or more coils.[79] The user needs to manually keep the atomizer wet by dripping liquid on the bare wick and
coil assembly, hence their name.[96]

Resistance elements[ edit ]

Kanthal wire is used in RDA's, RBA's, RTA's, in addition to clearomizers, tanks, and cartomizers.[5] Nickel wire or titanium wire can be
used for temperature control.[96]

Squonk mods[ edit ]

The origins of a squonk mod bottom-feeding system go as far back as 2009.[98] A member of the E-Cigarette Forum (ECF) named
"Carlos49" was largely credited with developing the first squonker available in the marketplace.[98] Squonk mods differ from other mod
boxes with their construction.[98] Squonk mods have a 510 connection that have been modified with the use of an e-liquid bottle placed
inside the mod.[5] The user squeezes an e-liquid bottle through an opening in the device to send e-liquid through a tube into the attached
atomizer.[98] Extra liquid goes back into the bottle when it is unsqueezed.[98]

Pod mods[ edit ]




Juul e-cigarette with pods.
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Bravo nicotine salt e-liquids.

Pod mods heat up a liquid containing nicotine, flavors, and other ingredients that creates an aerosol.[28] Pod mods are lightweight,
portable,[99] small, and reusable.[28] Pod mods do not require pushing a button.[100] A pod mod does not require much of a learning
curve.[100] With the majority of pod mods, users can just open their new package, put a pod into the device, and begin vaping.[28] They
are charged using a USB port.[100] There are numerous pod mods in the marketplace[101] and there are many kinds of pod mods.[102] The
three categories for the different kinds of pod mods are an open system, a closed system, or those that use both.[102] Pod mods come in
varying colors and flavors.[103] Many devices rely on replaceable liquid pods that may contain propylene glycol, glycerin, benzoic acid,
nicotine, and artificial flavors.[104] Some pod mods can be refillable, with flavors such as cotton candy, donut cream, and gummy
bear.[101] Pod mods that contain tetrahydrocannabinol (THC), the primary psychoactive chemical of cannabis, are being sold.[101] Pod
mods can look like USB flash drives, cell phones, credit card holders, and highlighters.[105] Because pod mods are small and generate
less aerosol, it makes it easy to hide them.[106] There are pod mods that can be concealed in the palm of a person's hand.[106] Later-
generation pod mods are small like a Sharpie pen.[100] Pod mods cost about half as much as larger e-cigarettes.[100]

The latest generation of e-cigarettes, "pod products", such as Juul, have the highest nicotine content (59 mg/mL), in protonated salt,
rather than the free-base nicotine form found in earlier generations, which makes it easier for less experienced users to inhale.[26] Pod
mods deliver higher levels of nicotine than regular e-cigarettes.[27] One nicotine pod, in terms of nicotine, is roughly equivalent to one
pack of regular cigarettes.[107] The labels on products state pods contain 59 mg/mL of nicotine, but the levels can be considerably greater
such as 75 mg/mL of nicotine.[101] Some pod mods contained greater levels of nicotine than Juul which were as high as 6.5%.[108] In
June 2015, Juul introduced a pod mod device.[109] British American Tobacco told to The Verge in 2018 that "They've been incorporated
in our Vuse e-liquid in the US since 2012."[110]

Research on nicotine salts is limited.[99] Tests show that the pod mods Juul, Bo, Phix, and Sourin contain nicotine salts in a solution with
propylene glycol and glycerin.[99] A nicotine base and a weak acid such as benzoic acid or levulinic acid is used to form a nicotine
salt.[111] Benzoic acid is the most used acid to create a nicotine salt.[108] A free-base nicotine solution with an acid reduces the pH, which
makes it possible to provide higher levels of nicotine without irritating the throat.[112] Nicotine salts are thought to amplify the level and
rate of nicotine delivery to the user.[99] The speed of nicotine salts uptake into the body is close to the speed of nicotine uptake from
traditional cigarettes.[113] Nicotine salts are less harsh and less bitter, and as a consequence e-liquids that contain nicotine salts are more
tolerable even with high nicotine concentrations.[108] Traditional cigarettes provide high levels of nicotine, but with the bad taste of
smoking.[28] Pod mods, however, can provide high levels of nicotine without the negative smoking experience.[28]

Power[ edit ]
Variable power and voltage devices[ edit ]

Variable devices are variable wattage, variable voltage or both.[5][74] Variable power and/or variable voltage have an electronic chip
allowing the user to adjust the power applied to the heating element.[22][74] The amount of power applied to the coil affects the heat
produced, thus changing the vapor output.[22][62] Greater heat from the coil increases vapor production.[62] Variable power devices
monitor the coil's resistance and automatically adjust the voltage to apply the user-specified level of power to the coil.[114] Recent
devices can go up to 8 V.[24]

They are often rectangular but can also be cylindrical.[75] They usually have a screen to show information such as voltage, power, and
resistance of the coil.[115] To adjust the settings, the user presses buttons or rotates a dial to turn the power up or down.[62] Some of these
devices include additional settings through their menu system such as: atomizer resistance meter, remaining battery voltage, puff counter,
and power-off or lock.[116] The power source is the biggest component of an e-cigarette,[20] which is frequently a rechargeable lithium-
ion battery.[12] Smaller devices contain smaller batteries and are easier to carry but typically require more repeated recharging.[12] Some
e-cigarettes use a long lasting rechargeable battery, a non-rechargeable battery or a replaceable battery that is either rechargeable or non-
rechargeable for power.[43] Some companies offer portable chargeable cases to recharge e-cigarettes.[43] Nickel-cadmium (NiCad), nickel
metal-hydride (NiMh), lithium ion (Li-ion), alkaline and lithium polymer (Li-poly), and lithium manganese (LiMn) batteries have been
used for the e-cigarettes power source.[43]
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PV with variable and
regulated power offering
battery protection.

Temperature control devices[ edit ]

Temperature control devices allow the user to set the temperature.[96] There is a predictable change to the resistance of a coil when it is
heated.[117] The resistance changes are different for different types of wires, and must have a high temperature coefficient of
resistance.[117] Temperature control is done by detecting that resistance change to estimate the temperature and adjusting the voltage to
the coil to match that estimate.[118]

Nickel, titanium, NiFe alloys, and certain grades of stainless steel are common materials used for wire in temperature control.[96] The
most common wire used, kanthal, cannot be used because it has a stable resistance regardless of the coil temperature.[117] Nickel was the
first wire used because it has the highest coefficient of the common metals.[117]




Mechanical PV with a
rebuildable atomizer.

The temperature can be adjusted in Celsius or Fahrenheit.[119] The Evolv's DNA40 and YiHi's SX350J are control boards used in
temperature control devices.[120] Temperature control can stop dry wicks from burning, or e-liquid overheating.[120]

Mechanical devices[ edit ]

Mechanical PVs or mechanical "mods", often called "mechs", are devices without integrated circuits, electronic battery protection, or
voltage regulation.[74] They are activated by a switch.[96] They rely on the natural voltage output of the battery and the metal that the
mod is made of often is used as part of the circuit itself.[121]

The term "mod" was originally used instead of "modification".[19] Users would modify existing hardwares to get better performance, and
as an alternative to the e-cigarettes that looked like traditional cigarettes.[62] Users would also modify other unrelated items like
flashlights as battery compartments to power atomizers.[62][75] The word mod is often used to describe most personal vaporizers.[5]

Mechanical PVs have no power regulation and are unprotected.[96] Because of this ensuring that the battery does not over-discharge and
that the resistance of the atomizer requires electric current within the safety limits of the battery is the responsibility of the user.[121]

E-cigarette liquid[ edit ]
Composition[ edit ]
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Various bottles of e-liquid.




An e-liquid
containing a
mixture of
cannabinoid
concentrates.[122]

E-cigarette liquid,[123] E-Cig liquid,[8] e-liquid, juice, vapor juice, smoke juice,[12] vaping fluid,[124] vaping juice,[125] e-juice,[126] e-
fluid,[14] or vape oil[127] is the mixture used in vapor products including e-cigarettes.[29] Since e-cigarettes are not regulated in many
countries, the composition of the liquid can change often.[66] There is a great amount of variability in e-liquid formulations due to fast
growth and changes in the manufacturing designs of e-cigarettes.[notes 1][16] The composition of the e-liquid for additives such as nicotine
and flavors vary across and within brands.[31] E-liquids come in many variations, including different nicotine strengths and many
different flavors.[129] The main ingredients are propylene glycol, glycerin, and flavorings; and most often, nicotine in liquid form.[130]
The liquid typically consists of a combined total of 95% propylene glycol and glycerin, and the remaining 5% being flavorings, nicotine,
and other additives.[32] The most frequently used e-liquid solvents are propylene glycol and glycerin.[131] Flavorings may contain
menthol, sugars, esters, and pyrazines.[131] Flavor components include eucalyptol, camphor, methyl salicylate, pulegone, ethyl salicylate,
cinnamaldehyde, eugenol, diphenyl ether, coumarin,[131] diacetyl, acetoin, 2,3-pentanedione, cyclohexanone, benzaldehyde, cresol,
butyraldehyde, and isoamyl acetate.[81] Sugars are frequently used in e-liquids to provide a sweet flavor.[132] Diacetyl, acetoin, and 2,3-
pentanedione are used for buttery flavoring.[81] Camphor and cyclohexanone are used for minty flavoring.[81] Benzaldehyde is used for
cherry or almond flavoring.[81] Cinnamaldehyde is used for cinnamon flavoring.[81] Cresol is used for leathery or medicinal flavoring.[81]
Butyraldehyde is used for chocolate flavoring.[81] Isoamyl acetate is used for banana flavoring.[81] E-liquids named coffee, tea,
chocolate, or energy drinks, typically contain caffeine at levels considerably less than in comparison with dietary products.[133] E-liquids
are also available with vitamins or cannabis flavors.[64][134] In addition, specific e-cigarettes (mods) are available that allow for not only
liquids but also herbs, oils, or fruits to be vaped.[64] Moreover, dual-function devices handle both concentrates and e-liquids using
multiple cartridges.[64]

E-liquid can be made with or without nicotine, with more than 90% of e-liquids containing some level of nicotine.[135] The most
regularly used base carrier chemical is propylene glycol with or without glycerin.[11] E-liquid containing glycerin and water made
without propylene glycol are also sold.[33] There are e-liquids sold without propylene glycol,[33] nicotine,[34] or flavors.[35] E-liquids
containing THC or other cannabinoids is also sold.[122][136] Specific kinds of e-liquids contain a tiny amount of alcohol.[137] The amount
of alcohol in e-liquids vary, and there are cases where it has not been disclosed as an ingredient.[138] It is uncertain whether the nicotine
used in e-liquid is manufactured using a US Pharmacopeia grade nicotine, a tobacco plant or tobacco dust extract, or a synthetic
nicotine.[139] Most e-cigarette liquids contain nicotine, but the level of nicotine varies depending on user-preference and
manufacturers.[140] Although some e-liquid is nicotine-free, surveys demonstrate that 97% of respondents use products that contain
nicotine.[141] About 3.5% of users use liquid without nicotine.[142] An e-cigarette user used approximately three flavors.[137] A 2016
study showed that measurable amounts of arsenic, nickel and other metals were in e-liquids.[143]

Over 80 chemicals such as formaldehyde and metallic nanoparticles have been found in the e-liquid.[37] E-liquids typically contain
nicotine, propylene glycol, glycerin, 1,3-butanediol, 1,3-propanediol, ethylene glycol, menthol, safrole, ethyl vanillin, camphor, α-
thujone, coumarin, and diethylene glycol, according to a 2017 review.[144] E-liquid can contain a range of toxicants and can contain
impurities.[145] A 2013 study found the e-liquids tested had as high as five times the upper threshold permitted levels of impurities.[145]
E-liquids have been found to contain low levels of some of the toxicants found in tobacco smoke, as well as small concentrations of
carcinogens.[146] The FDA in 2009 analyzed e-liquid cartridge samples which were found to contain tobacco-specific nitrosamines
(TSNAs), diethylene glycol (detected one e-cigarette cartridge), cotinine, anabasine, myosmine, and beta-nicotyrine.[147] The TSNAs N-
nitrosonornicotine (NNN), 4-(methylnitrosamino)-1-(3-pyridyl)-1-butanone (NNK), N-nitrosoanabasine, and nitrosoanatabine have been
detected in five e-liquid cartridge samples from two companies in levels comparable to nicotine replacement products, according to the
results of the FDA's analysis.[147] TSNAs were found in a broad range of levels.[148] TSNAs present in tobacco smoke, were also found
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in e-liquids, at different levels, in trace amounts.[149] Studies in 2013 of other e-liquids had not detected diethylene glycol.[146] The
majority of the e-liquids analyzed contained NNN from 0.34 to 60.08 μg/L and contained NNK from 0.22 to 9.84 μg/L.[150] The FDA
issued warnings to several e-cigarette companies for selling e-cartridges and refill solutions containing active pharmaceutical ingredients
such as rimonabant (Zimulti) for the purpose of losing weight and reducing smoking addiction, and tadalafil (the active ingredient in
Cialis) for the purpose of increasing sexual capacity.[151] FDA analyses of these e-cartridges and solutions showed the presence of
amino-tadalafil and not tadalafil, and the presence of an oxidative product of rimonabant, as well as rimonabant.[151]

The e-liquid often contain other substances unknown and/or undisclosed to the user.[152] The specific origin of the e-liquid ingredients is
often unclear.[153] When content information is given on the packaging, it is usually incomplete.[31] Contamination with various
compounds in e-liquids is a result of poor quality control.[31] Some nicotine and TSNAs have been found in e-liquids labelled as 'no
nicotine'.[31] Nicotine content information on labels for some e-liquid companies may be vague, inaccurate or absent.[146] E-liquid were
found to contain low levels of anthracene, phenanthrene, 1-methyl phenanthrene and pyren.[154] Diethylene glycol, ethylene glycol,
hydrocarbons, ethanol, terpenic compounds and aldehydes, particularly formaldehyde and acrolein were found in the e-liquid.[155]
Diethylene glycol is a potential byproduct of propylene glycol.[16] A 2014 study showed that e-liquids from a specific manufacturer
contained greater amounts of ethylene glycol than glycerin or propylene glycol, which was likely a result of improper manufacturing
methods.[156] Some liquids contained residual solvents such as 1,3-butadiene, cyclohexane, and acetone.[155] Some e-liquids contain
tobacco alkaloids such as nornicotine, anabasine, or anatabine, and TSNAs, such as N-nitrosonornicotine (NNN), 4-
(methylnitrosamine)-1-(3-pyridyl)-1-butanone (NNK),[16] nitrates, and phenol.[156] Tobacco alkaloids that were identified in some e-
liquids were not found on the ingredient list.[156] Small quantities of volatile organic compounds (VOCs) such as benzene, toluene,
xylene, and styrene have been found in the e-liquid.[41] Diethyl phthalate and diethylhexyl phthalate have been found in e-liquids.[157]
Some e-liquids contain tin "whiskers," microscopic crystals that originate from tin in the solder joints.[16]

Levels of aldehydes in e-liquid[ edit ]

                                  Aldehydes (in μg/g) in bottles of e-liquids∗[158]
  Company Code Formaldehyde Acetaldehyde Propionaldehyde Crotonaldehyde Butyraldehyde Benzaldehyde Hexaldehyde
 LOD                  0.060 0.030        0.043                0.053              0.077  0.035      0.036
 Janty         H60339 0.497 0.728        0.043                <0.053             <0.077 <0.035     <0.036
 Ecigexpress H60346 0.161   1.74         <0.043               <0.053             0.186  0.160      <0.036
 Vapor4Life H60349 0.776    0.507        0.089                <0.053             0.217  40.0       <0.036
 Totally
               H60352 0.532 0.129        <0.043               <0.053             <0.077 0.821      <0.036
 Wicked
 Sedansa       H60355 0.813 1.25         0.167                <0.053             0.164  <0.035     <0.036
 Johnson
               H60360 0.356 2.58         0.122                <0.053             <0.077 0.291      <0.036
 Creek
 TECC          H60364 0.467 0.235        <0.043               <0.053             <0.077 0.078      <0.036
 Intellicig    H60369 0.114 4.05         0.083                <0.053             <0.077 0.581      <0.036
 e-
               H60370 0.257 0.413        <0.043               <0.053             <0.077 0.104      0.068
 cigarettes.fr
 CigLib        H60373 0.274 0.421        <0.043               <0.053             <0.077 0.035      0.089
 V2 Cigs       H60374 0.411 0.332        0.045                <0.053             <0.077 0.146      0.115
 e-
               H60375 9.00  3.14         <0.043               <0.053             <0.077 0.145      0.100
 liquide.com
 Tasty Vapor H60376 3.52    2.37         <0.043               <0.053             <0.077 305        0.532
 e-cig.com H60379 0.226     0.393        0.047                <0.053             <0.077 0.062      0.132

∗A 2013 analysis tested a total of 42 bottles of e-liquids.[158]

Contents[ edit ]

The e-liquid is sold in bottles or pre-filled disposable cartridges, or as a kit for consumers to make their own e-liquids.[159] Some vendors
of e-liquids offer options to change the amounts of flavorings or nicotine strengths and build each bottle customized for the
purchaser.[159] E-liquids are made with various tobacco, fruit, and other flavors,[11] as well as variable nicotine concentrations (including
nicotine-free versions).[130] The standard notation "mg/ml" is often used on labels to denote nicotine concentration, and is sometimes
shortened to "mg".[160] Some flavors are created to resemble the flavors used in traditional cigarettes such as tobacco and menthol-
tobacco.[138] Adults in general also preferred sweet flavors (though smokers like tobacco flavor the most) and disliked flavors that elicit
bitterness or harshness.[161] Young adults overall preferred sweet, menthol, and cherry flavors, while non-smokers in particular preferred
coffee and menthol flavors.[161] In surveys of regular e-cigarette users, the most popular e-liquids had a nicotine content of 18 mg/ml,
and the preferred flavors were largely tobacco, mint and fruit.[146] Men tend to favor flavors with tobacco, while women tend to favor
chocolate or sweet flavors.[153] The most favorite flavors among regular e-cigarette users reported in a 2017 UK survey were fruit,
tobacco, and menthol/mint.[162] The survey also found 2.6% regular e-cigarette users used no flavors.[162] A 2013 study examined 33
countries and found that only 1% of the adult smokers exclusively used non-nicotine e-cigarettes.[161] A cartridge may contain 0 to
20 mg of nicotine.[163] Refill liquids are often sold in the size range from 15 to 30 ml.[164] E-liquids are frequently sold in dropper
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bottles.[165] One cartridge may typically last as long as one pack of cigarettes.[166] A refill bottle can contain up to 100 mg/ml of
nicotine,[163] which is meant to be diluted before use.[167] Some users, probably due to financial reasons and the willingness to
experiment, are opting to make homemade e-liquids.[29] A small percentage of liquids without flavoring is also sold.[168] The flavorings
may be natural or artificial.[31] Certified organic e-liquid is also sold.[36] About 8,000 flavors existed in 2014.[169] More than 15,500
flavors existed in 2018.[39] A user does not normally consume a whole cartridge in a single session.[170] Most e-liquids are produced by a
few manufacturers in China, the US, and Europe.[146] An e-cigarette user will usually obtain 300 to 500 puffs per ml of e-liquid.[164] A
2017 survey found that 62.2% of everyday e-cigarette users stated using lower than 4 ml daily and 1.5% used higher than 10 ml
daily.[171] 18.1% of everyday e-cigarette users were not aware of the amount of e-liquid they use.[171]

Manufacturing[ edit ]

E-liquids are manufactured by many producers, both in the US and across the world.[38] First tier manufacturers use lab suits, gloves,
hair covers, inside of certified clean rooms with air filtration similar to pharmaceutical-grade production areas.[38]

Standards[ edit ]

E-liquid manufacturing requirements under the US Food and Drug Administration (FDA) rules include report user fee information, pay
user fees, register their establishment and submit list of products, including labeling and advertisements, submit health documents,
submit ingredient listing, include required warning statements on packages and advertisements, submit quantities of harmful and
potentially harmful constituents, and submit a modified risk tobacco product application.[40] The revision to the EU Tobacco Products
Directive has some standards for e-liquids.[41]

Standards for e-liquid manufacturing have been created by American E-liquid Manufacturing Standards Association (AEMSA), which is
trade association dedicated to creating responsible and sustainable standards for the safe manufacturing of e-liquids used in vapor
products.[172] AEMSA has published a comprehensive list standards and best known methods, which are openly available for use by any
manufacturer of e-Liquids.[42] The AEMSA standards cover nicotine, ingredients, sanitary manufacturing rooms, safety packaging, age
restrictions, and labeling.[42] AEMSA guidelines recommend that the nicotine levels in e-liquids be within the amount of ±10% from the
levels stated on the label.[150]

Regulation[ edit ]
Effective August 8, 2016, under the FDA rules, a company that mixes or prepares e-liquids is regulated as a tobacco product
manufacturer.[173] Under the same regulation, a company that sells e-liquids is regulated as a tobacco retailer.[173] Companies who
import or try to sell for import into the US must conform to the Federal Food, Drug, and Cosmetic Act.[174] The 2016 FDA ruling did not
incorporate regulation concerning flavoring of e-cigarettes.[175] Industry standards have been created and published by the American E-
liquid Manufacturing Standards Association (AEMSA).[42] The FDA authority to regulate e-liquids was announced in May
2016.[176][177] The FDA has sought to regulate e-liquid in 2014[178] through use of the Family Smoking Prevention and Tobacco Control
Act,[179] passed into law in June 2009.[180] In April 2014, the FDA issued its "Deeming" proposals for public comment, which would
cover e-liquids manufacturing.[181]

Manufacturers of e-liquid in the UK are required to inform the Government regarding the content in each liquid.[182] The EU Tobacco
Products Directive requires e-liquids to be tested 6 months before they are sold.[183]

The Tobacco Products Directive in the EU limits the sale of e-liquid.[184] It can only be sold in 10 ml bottles, which need to have a child-
proof closure.[184] They have to be pre-registered to the Medicines and Healthcare products Regulatory Agency before sale.[184] There is
also a limit on the nicotine content, meaning the nicotine strength of any e-liquid cannot exceed 20 mg/ml (2.0%).[184] Refill liquids in
the EU with more than 20 mg/ml of nicotine may be sold with prior authorization from the pharmaceutical regulation.[41]

As of January 2020, the Food and Drug Administration put new regulations on the flavor of e-liquids. They ban companies from
manufacturing any juices or pre-filled pods that contained fruity or minty flavors. This restriction also banned stores from selling any
flavors of e-liquid that are fruity or minty that could have been imported from a different country. [185]

Nicotine yield[ edit ]

Smoking a traditional cigarette yields between 0.5 and 1.5 mg of nicotine,[186] but the nicotine content of the cigarette is only weakly
correlated with the levels of nicotine in the smoker's bloodstream.[187] The amount of nicotine in the e-cigarette aerosol varies widely
either from puff-to-puff or among devices of the same company.[9] In practice e-cigarette users tend to reach lower blood nicotine
concentrations than smokers, particularly when the users are inexperienced[186] or using first-generation devices.[19] Nicotine in cigarette
smoke is absorbed into the bloodstream rapidly, and e-cigarette aerosol is relatively slow in this regard.[19] Vaping typically gives a lower
amount of nicotine per puff than smoking cigarettes.[188] E-liquids contain nicotine in a variety of different strengths.[189] From no
nicotine[190] to 36 mg/ml.[191] On average a regular cigarette contains 6-28 mg of nicotine or the user will inhale about 1.1 to 1.8 mg of
nicotine if just a portion is used.[192] On average an e-cigarette contains 0.5-15.4 mg of nicotine per 15 puffs.[192] In practice the nicotine
concentration in an e-liquid is not a reliable guide to the amount of nicotine that reaches the bloodstream.[193] [194]

Notes[ edit ]
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  1. ^ The liquid composition of each brand of e-cigarettes may differ, making it difficult to generalize about the potential toxic properties of these
     devices.[128]


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Vaping Devices (Electronic Cigarettes) DrugFacts
What are vaping devices?
Vaping devices are battery-operated devices that people use to inhale an aerosol, which typically
contains nicotine (though not always), flavorings, and other chemicals. They can resemble
traditional tobacco cigarettes (cig-a-likes), cigars, or pipes, or even everyday items like pens or
USB memory sticks. Other devices, such as those with fillable tanks, may look different.
Regardless of their design and appearance, these devices generally operate in a similar manner
and are made of similar components. More than 460 different e-cigarette brands are currently on
the market.1




                                                                           Image used with permission from CDC

Some e-cigarettes are made to look like regular cigarettes, cigars, or pipes. Some resemble pens, USB sticks,
and other everyday items.



How do vaping devices work?
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Most e-cigarettes consist of four different components, including:

      a cartridge or reservoir or pod, which holds a liquid solution (e-liquid or e-juice) containing
      varying amounts of nicotine, flavorings, and other chemicals

      a heating element (atomizer)

      a power source (usually a battery)

      a mouthpiece that the person uses to inhale


In many e-cigarettes, puffing activates the battery-powered heating device, which vaporizes the
liquid in the cartridge. The person then inhales the resulting aerosol or vapor (called vaping).



Vaping Among Teens
Vaping devices are popular among teens and are now the most commonly used form of nicotine
among youth in the United States. Some research shows that many teens do not even realize that
vaping cartridges contain nicotine, and assume the pods contain only flavoring. The easy
availability of these devices, alluring advertisements, various e-liquid flavors, and the belief that
they're safer than cigarettes have helped make them appealing to this age group. In addition, they
are easy to hide from teachers and parents because they do not leave behind the stench of
tobacco cigarettes, and are often disguised as flash drives. Further, a study of high school
students found that one in four teens reported using e-cigarettes for dripping, a practice in which
people produce and inhale vapors by placing e-liquid drops directly onto heated atomizer coils.
Teens reported the following reasons for dripping: to create thicker vapor (63.5 percent), to
improve flavors (38.7 percent), and to produce a stronger throat hit—a pleasurable feeling that the
vapor creates when it causes the throat to contract (27.7 percent).2 More research is needed on
the risks of this practice.


In addition to the unknown health effects, early evidence suggests that vaping might serve as an
introductory product for preteens and teens who then go on to use other nicotine products,
including cigarettes, which are known to cause disease and premature death. A study showed that
students who had used e-cigarettes by the time they started 9th grade were more likely than
others to start smoking cigarettes and other smokable tobacco products within the next year.3
Another study supports these findings, showing that high school students who used e-cigarettes in
the last month were about 7 times more likely to report that they smoked cigarettes when asked
approximately 6 months later, as compared to students who said they didn't use e-cigarettes.
Notably, the reverse was not true—students who said they smoked cigarettes were no more likely
to report use of e-cigarettes when asked approximately 6 months later. Like the previous study,
these results suggest that teens using e-cigarettes are at a greater risk for smoking cigarettes in
the future.4 Another study has shown an association between e-cigarette smoking and progression
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to smoking actual cigarettes.5 This study suggests that vaping nicotine might actually encourage
cigarette smoking in adolescents.


Additionally, a study of adult smokers in Europe found those who vaped nicotine were less like to
have stopped smoking than those who did not. Those who used e-cigarettes also smoked more
cigarettes than those who didn’t.6 In another study of more than 800 people who said they vaped
to help them quit traditional cigarette smoking, only nine percent reported having quit when asked
a year later.7 However, more research is still needed to understand if experimenting with e-
cigarettes leads to regular use of smokable tobacco.



Under U.S. Food and Drug Administration (FDA) regulations designed to protect the health of
young Americans, minors can no longer buy e-cigarettes in stores or online (see "Government
Regulation of E-cigarettes"). The FDA now regulates the manufacture, import, packaging, labeling,
advertising, promotion, sale, and distribution of e-cigarettes. This includes components and parts
of e-cigarettes but excludes accessories.8




      Government Regulation of E-cigarettes
      In 2016, the FDA established a rule for e-cigarettes and their liquid solutions. Because e-
      cigarettes contain nicotine derived from tobacco, they are now subject to government regulation
      as tobacco products. In December 2019, the federal government raised the legal minimum age of
      sale of tobacco products from 18 to 21 years, and in January 2020, the FDA issued a policy on
      the sale of flavored vaping cartridges.




How does vaping affect the brain?
The nicotine in e-liquids is readily absorbed from the lungs into the bloodstream when a person
vapes an e-cigarette. Upon entering the blood, nicotine stimulates the adrenal glands to release
the hormone epinephrine (adrenaline). Epinephrine stimulates the central nervous system and
increases blood pressure, breathing, and heart rate. As with most addictive substances, nicotine
activates the brain’s reward circuits and also increases levels of a chemical messenger in the brain
called dopamine, which reinforces rewarding behaviors. Pleasure caused by nicotine’s interaction
with the reward circuit motivates some people to use nicotine again and again, despite risks to
their health and well-being.
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What are the health effects of vaping? Is it safer than
smoking tobacco cigarettes?
Research so far suggests that vaping devices might be less harmful than combustible cigarettes
when people who regularly smoke switch to them as a complete replacement. But nicotine in any
form is a highly addictive drug. Research suggests it can even prime the brain’s reward system,
putting vapers at risk for addiction to other drugs.9


Also, e-cigarette use exposes the lungs to a variety of chemicals, including those added to e-
liquids, and other chemicals produced during the heating/vaporizing process.10 A study of some e-
cigarette products found the vapor contains known carcinogens and toxic chemicals, as well as
potentially toxic metal nanoparticles from the device itself. The study showed that the e-liquids of
certain cig-a-like brands contain high levels of nickel and chromium, which may come from the
nichrome heating coils of the vaporizing device. Cig-a-likes may also contain low levels of
cadmium, a toxic metal also found in cigarette smoke that can cause breathing problems and
disease.11 More research is needed on the health consequences of repeated exposure to these
chemicals. There are also reports of lung illnesses and deaths related to inhalation of certain
vaping oils into the lungs, which have no way to filter out toxic ingredients.




      Reports of Deaths Related to Vaping
      The Food and Drug Administration has alerted the public to thousands of reports of
      serious lung illnesses associated with vaping, including dozens of deaths. They are
      working with the Centers for Disease Control and Prevention (CDC) to investigate the
      cause of these illnesses. Many of the suspect products tested by the states or federal
      health officials have been identified as vaping products containing THC, the main
      psychotropic ingredient in marijuana. Some of the patients reported a mixture of THC
      and nicotine; and some reported vaping nicotine alone. While the CDC and FDA
      continue to investigate possible other contributing substances, CDC has identified a
      thickening agent—Vitamin E acetate—as a chemical of concern among people with e-
      cigarette or vaping associated lung injuries. They recommend that people should not
      use any product containing Vitamin E acetate, or any vaping products containing THC;
      particularly from informal sources like friends, family, or in-person and online dealers.
      They also warn against modifying any products purchased in stores, or using any
      vaping products bought on the street. People, including health professionals, should
      report any adverse effects of vaping products. The CDC has posted an information
      page for consumers.
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Health Effects for Teens
The teen years are critical for brain development, which continues into young adulthood. Young
people who use nicotine products in any form, including e-cigarettes, are uniquely at risk for long-
lasting effects. Because nicotine affects the development of the brain's reward system, continued
nicotine vaping can not only lead to nicotine addiction, but it also can make other drugs such as
cocaine and methamphetamine more pleasurable to a teen's developing brain.12


Nicotine also affects the development of brain circuits that control attention and learning. Other
risks include mood disorders and permanent problems with impulse control—failure to fight an
urge or impulse that may harm oneself or others.12



Can vaping help a person quit smoking?
Some people believe e-cigarettes may help lower nicotine cravings in those who are trying to quit
smoking. However, e-cigarettes are not an FDA-approved quit aid, and there is no conclusive
scientific evidence on the effectiveness of vaping for long-term smoking cessation. It should be
noted that there are seven FDA-approved quit aids that are proven safe and can be effective when
used as directed.


Vaping nicotine has not been thoroughly evaluated in scientific studies. For now, not enough data
exists on the safety of e-cigarettes, how the health effects compare to traditional cigarettes, and if
they are helpful for people trying to quit smoking.




      Points to Remember
           People vape with battery-operated devices used to inhale an aerosol, which can
           contain nicotine, marijuana, flavorings, and other chemicals. In many e-cigarettes,
           puffing activates the battery-powered heating device, which vaporizes the liquid in
           the cartridge or reservoir. The person then inhales the resulting aerosol or vapor
           (called vaping).

           Vaping is popular among teens. Under U.S. Food and Drug Administration (FDA)
           regulations designed to protect the health of young Americans, minors can no
           longer buy e-cigarettes in stores or online.

           Nicotine stimulates the adrenal glands to release the hormone epinephrine
           (adrenaline) and increases the levels of a chemical messenger in the brain
           called dopamine. Pleasure caused by nicotine’s interaction with the brain’s reward
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             system motivates some people to use nicotine again and again, despite possible
             risks to their health and well-being.

             Research so far suggests that vaping is less harmful than combustible cigarettes
             when people who regularly smoke switch to them as a complete replacement. But
             e-cigarettes can still damage a person's health.

             Vaping can lead to nicotine addiction and increased risk for addiction to other
             drugs.

             Vaping also exposes the lungs to a variety of chemicals, including those added to
             e-liquids, and other chemicals produced during the heating/vaporizing process.

             More research is needed to determine if vaping nicotine can be as effective as
             smoking cessation aids already approved by the FDA.




Learn More
For more information about e-cigarettes, visit:

     NIH-funded study finds teens prefer mint and mango vaping flavors (Science Spotlight,
     November 2019)

        NIDA Live: The Science of Vaping (30:19) (September 2019)

     NIDA TV Spotlight on Electronic Cigarettes

     A NIDA Science Spotlight on the association between e-cigarette use and future tobacco
     cigarette use

     the FDA's webpage, Vaporizers, E-Cigarettes, and other Electronic Nicotine Delivery
     Systems (ENDS)

     the website, Know the Risks: E-cigarettes & Young People, based on the U.S. Surgeon
     General's Report on e-cigarette use among youth and young adults; includes various
     resources such as a parent tip sheet, healthcare provider conversation card, and FAQs

     Notes from the Field: Use of Electronic Cigarettes and Any Tobacco Product Among Middle
     and High School Students — United States, 2011–2018 (MMRW) (CDC, November 2018)

        E-Cigarette, or Vaping, Products Visual Dictionary (CDC)


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command, order, bid, enjoin, direct, instruct, charge mean to issue orders. command and order imply authority and usually some degree of formality and
impersonality. command stresses official exercise of authority. a general commanding troops order may suggest peremptory or arbitrary exercise. ordered his
employees about bid suggests giving orders peremptorily (as to children or servants). she bade him be seated enjoin implies giving an order or direction
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: to give an order or an explanation of a law to (a jury)

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instruct

verb
in·struct | \ in-ˈstrəkt   \
instructed; instructing

Kids Definition of instruct
1 : to give knowledge to : teach A tutor instructs him in math.
2 : to give information to I instructed him that school was closed.
3 : to give directions or commands to She instructed us to stay seated.
                  Case 2:20-cv-02185-DJH                          Document 27-1                   Filed 11/22/21               Page 87 of 133
instruct

transitive verb
in·struct

Legal Definition of instruct
: to provide (a jury) with explanation and directions regarding the law applicable to a case the judge instructed the jury that the plaintiff bears the burden of proof the
jury was instructed to ignore the attorney's comments

intransitive verb

: to give instructions to a jury the trial judge refused to instruct on manslaughter— W. R. LaFave and A. W. Scott, Jr.

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                                      What does 'poke' refer to
                                      in the expression 'pig in a
                                      poke'?




                          state of difficulty       stable


                               mud pit               bag




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                             A simple trick to keep them
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                               How 'literally' can mean
                                     "figuratively"




                                      Literally

                          How to use a word that (literally)
                                 drives some pe...




                           Is Singular 'They' a Better
                                    Choice?

                           The awkward case of 'his or her'




                                WORD GAMES
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                                                         Name Those Herbs and Spices

                                                               How many do you know?
                                                                    TA K E T H E Q U I Z




                                                                Name That Emotion

                                                                   It's a whole mood
                                                                    TA K E T H E Q U I Z




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time period
Also found in: Thesaurus, Acronyms, Wikipedia.


 Thesaurus                                                           Legend: ≡ Synonyms ↔ Related Words ≠ Antonyms


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 Noun 1. time period - an amount of time; "a time period of 30 years"; "hastened the period of time
         of his recovery"; "Picasso's blue period"

          ≡ period, period of time
          ↔ fundamental measure, fundamental quantity - one of the four quantities that are
          the basis of systems of measurement

          ↔ test period, trial period - a period of time during which someone or something is
          tested

          ↔ time frame - a time period during which something occurs or is expected to occur; "an agreement can be
          reached in a reasonably short time frame"
          ↔ hours - an indefinite period of time; "they talked for hours"
          ↔ downtime - a period of time when something (as a machine or factory) is not operating (especially as a
          result of malfunctions)
          ↔ uptime - a period of time when something (as a machine or factory) is functioning and available for use
          ↔ work time - a time period when you are required to work
          ↔ time off - a time period when you are not required to work; "he requested time off to attend his
          grandmother's funeral"

          ↔ bout - a period of illness; "a bout of fever"; "a bout of depression"
          ↔ hospitalization - a period of time when you are confined to a hospital; "now they try to shorten the patient's
          hospitalization"
          ↔ travel time - a period of time spent traveling; "workers were not paid for their travel time between home and
          factory"

          ↔ times - a more or less definite period of time now or previously present; "it was a sign of the times"
          ↔ time - an indefinite period (usually marked by specific attributes or activities); "he waited a long time"; "the
          time of year for planting"; "he was a great actor in his time"
          ↔ elapsed time - the time that elapses while some event is occurring
          ↔ duration, continuance - the period of time during which something continues
          ↔ calendar week, week - a period of seven consecutive days starting on Sunday
          ↔ midweek - the middle of a week
          ↔ field day - a time of unusual pleasure and success
          ↔ lifespan, lifetime, life-time, life - the period during which something is functional (as between birth and
          death); "the battery had a short life"; "he lived a long and happy life"
              Case 2:20-cv-02185-DJH                    Document 27-1              Filed 11/22/21   Page 96 of 133
           ↔ life - the period between birth and the present time; "I have known him all his life"
           ↔ life - the period from the present until death; "he appointed himself emperor for life"
           ↔ millennium, millenary - a span of 1000 years
           ↔ bimillenary, bimillennium - a span of 2000 years
           ↔ occupation - the period of time during which a place or position or nation is occupied; "during the German
           occupation of Paris"

           ↔ past - a earlier period in someone's life (especially one that they have reason to keep secret); "reporters dug
           into the candidate's past"

           ↔ shelf life - the length of time a packaged food or drug will last without deteriorating
           ↔ puerperium - time period following childbirth when the mother's uterus shrinks and the other functional and
           anatomic changes of pregnancy are resolved; "a perinatologist cared for her during the puerperium"

           ↔ lactation - the period following birth during which milk is secreted; "lactation normally continues until
           weaning"

           ↔ time of life - a period of time during which a person is normally in a particular life state
           ↔ calendar day, civil day - a day reckoned from midnight to midnight
           ↔ festival - a day or period of time set aside for feasting and celebration
           ↔ daylight, daytime, day - the time after sunrise and before sunset while it is light outside; "the dawn turned
           night into day"; "it is easier to make the repairs in the daytime"
           ↔ forenoon, morn, morning, morning time - the time period between dawn and noon; "I spent the morning
           running errands"

           ↔ night, nighttime, dark - the time after sunset and before sunrise while it is dark outside
           ↔ night - the time between sunset and midnight; "he watched television every night"
           ↔ night - the period spent sleeping; "I had a restless night"
           ↔ night - a period of ignorance or backwardness or gloom
           ↔ eve - the period immediately before something; "on the eve of the French Revolution"
           ↔ evening - the early part of night (from dinner until bedtime) spent in a special way; "an evening at the opera"
           ↔ hebdomad, week - any period of seven consecutive days; "it rained for a week"
           ↔ fortnight, two weeks - a period of fourteen consecutive days; "most major tennis tournaments last a
           fortnight"

           ↔ weekend - a time period usually extending from Friday night through Sunday; more loosely defined as any
           period of successive days including one and only one Sunday

           ↔ Indian summer, Saint Martin's summer - a period of unusually warm weather in the autumn
           ↔ year - the period of time that it takes for a planet (as, e.g., Earth or Mars) to make a complete revolution
           around the sun; "a Martian year takes 687 of our days"

           ↔ schooltime, school day, school - the period of instruction in a school; the time period when school is in
           session; "stay after school"; "he didn't miss a single day of school"; "when the school day was done we would
           walk home together"

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                                                                                                     current drawn by the load from two currents…

                                                                                                     What is the magnitude of the current in an
     8 Answers                                                                                       electrolyte?

       RaviVarma                                                                                     What is the magnitude of current through
       Answered Jul 18, 2021                                                                         voltage and power?

First of all we know that current is nothing but flow of electric charge carriers                    How do you calculate magnitude?
(electrons) .

Magnitude of current is the amount of charge flowing at a particular point.

This simplifies the concept of Alternating and Direct currents (A.C and D.C)

As we know the graph of Alternating current will be pulsating so its magnitude
changes from time to time that means charge flowing keeps changing.

But in Direct Current graph it is shown as linear so its the magnitude of D.Current
remains constant.




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      2



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What is the magnitude of an electric current?

How can we find the magnitude of a current when voltage, current and resistor are
given?

How do you determine the magnitude of the current drawn by the load from two
currents (10A and 15A) that are 30° out of phase?

What is the magnitude of the current in an electrolyte?

What is the magnitude of current through voltage and power?



       Gavin Monson, BEng Hons Mechanical Engineering & Energy Engineering,
       Heriot-Watt University (2011)
       Answered 3 years ago

Current is just the measure of how many electrons are flowing at a given time.

So an ampere will represent a certain number of electrons per second.

I had to look this up as its not an easy number to remember.

So 1 amp means there are 6.242×10^18 electrons flowing past per second. This unit
of charge is called a Coulomb after its inventor.
              Case 2:20-cv-02185-DJH                         Document 27-1                  Filed 11/22/21   Page 101 of 133
I think one cool side effect of this is you can work out how fast electrons are actually
moving through a circuit by the number of free electrons available. Turns out pretty
slowly.
                                          Continue Reading
Although the electric field travels at the speed of light the electrons themselve
       7



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       Sulimon Sattari, Specially Appointed Assistant Professor at Hokkaido
       University
       Answered 4 years ago · Author has 570 answers and 1.3M answer views

When you say “magnitude” of current it seems like you must be talking about current
as a vector. This is possible since current can have a direction. So the magnitude is the
square root of the sum of the squares of the components of the current. Or, if the
current is just a number and not a vector, the magnitude is the absolute value of the
number.
12.8K views · View upvotes

       8



       Ruhul Amin, Optometry BSc
       Answered 5 years ago

Current, measured in Amperes (A), has the symbol "I" ('eye') and is equal to the charge
(Coulombs, C) per unit time (Seconds, s). In other words, it is the number of electrons
passing a point per second.

I = Q/t

Where Q is charge and t is time

Current is also equal to the potential difference (voltage, V) across a component over
the resistance (ohms) of the component

I = V/R



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       8                1       2



Related Questions                                                        More Answers Below

How do you calculate magnitude?

What is magnitude of magnitude?

A current has both a magnitude and a direction. Why is a current not a vector
quantity?

What is the formula for magnitude?

What is the magnitude of the current in the loop?



       Michael Kenyon, I am an Engineer and inventor. Airliner safety inventions
       Answered 4 years ago · Author has 784 answers and 1.1M answer views

Yes I = Q/t

V=I x R

I squared = Q squared / time squared

Power = R x Q squared / time squared

Voltage = Q x R/ time
             Case 2:20-cv-02185-DJH                           Document 27-1                     Filed 11/22/21   Page 102 of 133
Note the charge (electrons flow) from the negative side of a battery or power unit to
the positive side. Not positive to negative.

The negative electrons are attracted to the positive point in the circuit, the anode.



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      2



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       Willy Roentgen, Registered Professional Engineer, BSAeroE, MSME, MBA,
       Pilot,
       Answered 4 years ago · Author has 11.9K answers and 7.3M answer views

The units of (electrical) current is the Ampere (or milliampere, etc). Its magnitude can
be measured or calculated buy measuring the voltage of a resistor in the circuit. Then
the calculation:

A = E/R, where A is the current, E is the voltage drop across the resistor and R is the
value of the resistor in Ohms.
7.8K views · View upvotes

      2



       Vikas Singh, Ceo at Life and Living (1999-present)
       Answered 3 years ago

I think literally you are confused that current is scalar or vector. If so, then

If we will talk about current in wire it is considered as scalar (literally tensor) but if we
talk about a conducter at microscopic level then some electron have same other have
different direction (e.g. eddy current) so here current is vector. Thatswhy you listened
somewhere magnitude of current.
4.4K views · View upvotes

      1



       Shashvata Ghosh, Student at Techno India NJR Institute of Technology (2018-
       present)
       Answered 1 year ago

Originally Answered: What is the magnitude of a current?
A( Ampere) is unit of current. Actually current is a scalar quantity since it follows scalar
addition. When current coming from two opposite directions are added irrespective of
their direction
1.4K views · Answer requested by Swati Shukla




Related Answers


    Related Answer

       Marty Frolick, Physics Teacher
       Answered 4 years ago · Author has 1.9K answers and 1.3M answer views

What is the definition of magnitude in physics?
Originally Answered: What is meant by magnitude in physics?
Magnitude simply means “how much”. In physics, we use many kinds of numbers, two
of which are scalars and vectors. A scalar is a number that only has a magnitude or an
amount. For example:

6 bananas

23.5 kilograms
             Case 2:20-cv-02185-DJH                          Document 27-1                Filed 11/22/21   Page 103 of 133
18 meters/second

67 kilometers

A vector is a number that has a magnitude and a direction. For example:

18 meters/second West

67 kilometers Up

12 miles at an angle of 35 degrees

Some scalars can be made into vectors by adding a direction, but only certain things
can be vectors since it would make no sense to say 6 bananas down (unless you were
using a banana as a ruler - weird!)
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    Related Answer

       Avtar Singh, Process Engineer (2017-present)
       Answered 3 years ago · Author has 84 answers and 119.4K answer views

What is magnitude & direction?
So you want to understand Vector quantities which have both magnitude and
direction:

Magnitude is the result of measurement in numerical value like 2Kg, 3 m/s 4 cm2 etc.

And the direction is any specific way straight, forward, backward, east, west, upward,
downward etc.

In vector quantities magnitude and direction both are given but in scalar quantity it is
not given that in which way or in which direction it is measured so vector quantity tells
us result in numerical value in a specified direction which is very helpful like speed and
velocity
                                       Continue Reading
Speed is scalar whereas velocity is vector beacuse spe
      12



    Related Answer

       Jim Phipps, Power Systems Engineer
       Answered 2 years ago · Author has 1.6K answers and 3M answer views

How do you determine the magnitude of the current drawn by the load
from two currents (10A and 15A) that are 30° out of phase?
You use Kirchhoff’s current law and sum the two phasor currents together to get the
total current.

Say we take the 15 A current as the reference and assume the 10 A current lags by
30º:




If the 10 A current leads by 30º, then just change
                                    Continue Readingthe sign on the angle to +11.9º. In
either case the magnitude will be about 24 A
       4
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What is the magnitude of the current in an electrolyte?

What is the magnitude of current through voltage and power?

How do you calculate magnitude?

What is magnitude of magnitude?

A current has both a magnitude and a direction. Why is a current not a vector
quantity?

What is the formula for magnitude?

What is the magnitude of the current in the loop?

Does DC current have a varying magnitude?

What is magnitude?

How do I find magnitude of force?

What is the difference between magnitude and direction?

What is the magnitude of charges?



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Electrical connector
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Schematic symbols for male
and female connectors (see
Gender of connectors and
fasteners)




This rear panel of an integrated
amplifier features a variety of
electrical connectors




Connectors on the back of a 2018
computer

An electrical connector is an electromechanical device used to join electrical conductors and create an
electrical circuit.[1] Most electrical connectors have a gender – i.e. the male component, called a plug, connects
to the female component, or socket. The connection may be removable (as for portable equipment), require a
tool for assembly and removal, or serve as a permanent electrical joint between two points.[2] An adapter can be
used to join dissimilar connectors.

Thousands of configurations of connectors are manufactured for power, data, and audiovisual applications.[3]
Electrical connectors can be divided into four basic categories, differentiated by their function:[4]

      inline or cable connectors permanently attached to a cable, so it can be plugged into another terminal
      (either a stationary instrument or another cable)[5]
      Chassis or panel connectors permanently attached to a piece of equipment so users can connect a cable to
      a stationary device
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      PCB mount connectors soldered to a printed circuit board, providing a point for cable or wire
      attachment.[6]: 56 (e.g. pin headers, screw terminals, board-to-board connectors)
      Splice or butt connectors (primarily insulation displacement connectors) that permanently join two
      lengths of wire or cable

In computing, electrical connectors are considered a physical interface and constitute part of the physical layer
in the OSI model of networking.

Contents
      1 Physical construction
            1.1 Materials
            1.2 Failure modes
            1.3 Circular connectors
            1.4 Hybrid connectors
      2 Mechanical features
            2.1 Pin sequence
            2.2 Keying
            2.3 Locking mechanisms
            2.4 Backshells
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            3.1 Plug and socket connectors
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            3.6 Screw terminals
            3.7 Ring and spade connectors
            3.8 Blade connectors
            3.9 Other connection methods
      4 See also
            4.1 Connectors
      5 References
      6 External links

Physical construction[ edit ]
In addition to the classes mentioned above, connectors are characterised by their pinout, method of connection,
materials, size, contact resistance, insulation, mechanical durability, ingress protection, lifetime (number of
cycles), and ease of use.

It is usually desirable for a connector to be easy to identify visually, rapid to assemble, inexpensive, and require
only simple tooling. In some cases an equipment manufacturer might choose a connector specifically because it
is not compatible with those from other sources, allowing control of what may be connected. No single
connector has all the ideal properties for every application; the proliferation of types is a result of the diverse
yet specific requirements of manufacturers.[7]: 6

Materials[ edit ]

Electrical connectors essentially consist of two classes of materials: conductors and insulators. Properties
important to conductor materials are contact resistance, conductivity, mechanical strength, formability, and
           Case 2:20-cv-02185-DJH           Document 27-1        Filed 11/22/21      Page 109 of 133
resilience.[8] Insulators must have a high electrical resistance, withstand high temperatures, and be easy to
manufacture for a precise fit.

Electrodes in connectors are usually made of copper alloys, due to their good conductivity and
malleability.[7]: 15 Alternatives include brass, phosphor bronze, and beryllium copper. The base electrode metal
is often coated with another inert metal such as gold, nickel, or tin.[8] The use of a coating material with good
conductivity, mechanical robustness and corrosion resistance helps to reduce the influence of passivating oxide
layers and surface adsorbates, which limit metal-to-metal contact patches and contribute to contact resistance.
For example, copper alloys have favorable mechanical properties for electrodes, but are hard to solder and
prone to corrosion. Thus, copper pins are usually coated with gold to alleviate these pitfalls, especially for
analog signals and high reliability applications.[9][10]

Contact carriers that hold the parts of a connector together are usually made of plastic, due to its insulating
properties. Housings or backshells can be made of molded plastic or metal.[7]: 15

Failure modes[ edit ]

The majority of connector failures result in intermittent connections or open contacts:[11][12]

Failure mode Relative probability
Open circuit 61%
Poor contact 23%
Short circuit 16%

Connectors are purely passive components – that is, they do not enhance the function of a circuit – so
connectors should affect the function of a circuit as little as possible. Insecure mounting of connectors
(primarily chassis-mounted) can contribute significantly to the risk of failure, especially when subjected to
extreme shock or vibration.[11] Other causes of failure are connectors inadequately rated for the applied current
and voltage, connectors with inadequate ingress protection, and threaded backshells that are worn or damaged.

High temperatures can also cause failure in connectors, resulting in an "avalanche" of failures – ambient
temperature increases, leading to a decrease in insulation resistance and increase in conductor resistance; this
increase generates more heat, and the cycle repeats.[11]

Fretting (so-called dynamic corrosion) is a common failure mode in electrical connectors that have not been
specifically designed to prevent it, especially in those that are frequently mated and de-mated.[13] Surface
corrosion is a risk for many metal parts in connectors, and can cause contacts to form a thin surface layer that
increases resistance, thus contributing to heat buildup and intermittent connections.[14] However, remating or
reseating a connector can alleviate the issue of surface corrosion, since each cycle scrapes a microscopic layer
off the surface of the contact(s), exposing a fresh, unoxidised surface.

Circular connectors[ edit ]

Many connectors used for industrial and high-reliability applications are circular in cross section, with a
cylindrical housing and circular contact interface geometries. This is in contrast to the rectangular design of
some connectors, e.g. USB or blade connectors. They are commonly used for easier engagement and
disengagement, tight environmental sealing, and rugged mechanical performance.[15] They are widely used in
military, aerospace, industrial machinery, and rail, where MIL-DTL-5015 and MIL-DTL-38999 are commonly
specified. Fields such as sound engineering and radio communication also use circular connectors, such as XLR
and BNC. AC power plugs are also commonly circular, for example, Schuko plugs and IEC 60309.
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NMEA 2000 cabling using M12
connectors

The M12 connector, specified in IEC 61076-2-101, is a circular electrical plug/receptacle pair with 12mm OD
mating threads, used in NMEA 2000, DeviceNet, IO-Link, some kinds of Industrial Ethernet, etc.[16][17]

A disadvantage of the circular design is its inefficient use of panel space when used in arrays, when compared
to rectangular connectors.

Circular connectors commonly use backshells, which provide physical and electromagnetic protection, whilst
sometimes also providing a method for locking the connector into a receptacle.[18] In some cases, this backshell
provides a hermetic seal, or some degree of ingress protection, through the use of grommets, O-rings, or
potting.[15]

Hybrid connectors[ edit ]

Hybrid connectors allow the intermixing of many connector types, usually by way of a housing with inserts.[19]
These housings may also allow intermixing of electrical and non-electrical interfaces, examples of the latter
being pneumatic line connectors, and optical fiber connectors. Because hybrid connectors are modular in
nature, they tend to simplify assembly, repair, and future modifications. They also allow the creation of
composite cable assemblies that can reduce equipment installation time by reducing the number of individual
cable and connector assemblies.

Mechanical features[ edit ]
Pin sequence[ edit ]

Some connectors are designed such that certain pins make contact before others when inserted, and break first
on disconnection.[1] This is often used in power connectors to protect equipment, e.g. connecting safety ground
first. It is also employed for digital signals, as a method to sequence connections properly in hot swapping.

Keying[ edit ]
                                        Examples of keyed connectors




                                            XLR connector,
                                            showing the notch for
                                            alignment
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                                             A 4-pin Mini-DIN S-
                                             Video cable, with
                                             notches and a
                                             rectangular alignment
                                             pin

Many connectors are keyed with some mechanical component (sometimes called a keyway), which prevents
mating in an incorrect orientation.[20] This can be used to prevent mechanical damage to connectors, from
being jammed in at the wrong angle or into the wrong connector, or to prevent incompatible or dangerous
electrical connections, such as plugging an audio cable into a power outlet.[1] Keying also prevents otherwise
symmetrical connectors from being connected in the wrong orientation or polarity. Keying is particularly
important for situations where there are many similar connectors, such as in signal electronics.[7]: 26 For
instance, XLR connectors have a notch to ensure proper orientation, while Mini-DIN plugs have a plastic
projection that fits into a corresponding hole in the socket (they also have a notched metal skirt to provide
secondary keying).[21]

Locking mechanisms[ edit ]
Some connector housings are designed with locking mechanisms to prevent inadvertent disconnection or poor
environmental sealing.[1] Locking mechanism designs include locking levers of various sorts, jackscrews,
screw-in shells, push-pull connector, and toggle or bayonet systems. Some connectors, particularly those with
large numbers of contacts, require high forces to connect and disconnect. Locking levers and jackscrews and
screw-in shells for such connectors frequently serve both to retain the connector when connected and to provide
the force needed for connection and disconnection. Depending on application requirements, housings with
locking mechanisms may be tested under various environmental simulations that include physical shock and
vibration, water spray, dust, etc. to ensure the integrity of the electrical connection and housing seals.

Backshells[ edit ]

Backshells are a common accessory for industrial and high-reliability connectors, especially circular
connectors.[18] Backshells typically protect the connector and/or cable from environmental or mechanical
stress, or shield it from electromagnetic interference.[22] Many types of backshells are available for different
purposes, including various sizes, shapes, materials, and levels of protection. Backshells usually lock onto the
cable with a clamp or moulded boot, and may be threaded for attachment to a mating receptacle.[23] Backshells
for military and aerospace use are regulated by SAE AS85049 within the USA.[24]

Hyperboloid contacts[ edit ]
To deliver ensured signal stability in extreme environments, traditional pin and socket design may become
inadequate. Hyperboloid contacts are designed to withstand more extreme physical demands, such as vibration
and shock.[20] They also require around 40% less insertion force[25] – as low as 0.3 newtons (1 ozf) per
contact,[26] – which extends the lifespan, and in some cases offers an alternative to zero insertion force
connectors.[27][25]

In a connector with hyperboloid contacts, each female contact has several equally spaced longitudinal wires
twisted into a hyperbolic shape. These wires are highly resilient to strain, but still somewhat elastic, hence they
essentially function as linear springs.[28][29] As the male pin is inserted, axial wires in the socket half are
deflected, wrapping themselves around the pin to provide a number of contact points. The internal wires that
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form the hyperboloid structure are usually anchored at each end by bending the tip into a groove or notch in the
housing.[30]

Whilst hyperboloid contacts may be the only option to make a reliable connection in some circumstances, they
have the disadvantage of taking up greater volume in a connector, which can cause problems for high-density
connectors.[25] They are also significantly more expensive than traditional pin and socket contacts, which has
limited their uptake since their invention in the 1920s by Wilhelm Harold Frederick.[31] In the 1950s, Francois
Bonhomme popularised hyperboloid contacts with his "Hypertac" connector, which was later acquired by
Smiths Group. During the following decades, the connectors steadily gained popularity, and are still used for
medical, industrial, military, aerospace, and rail applications (particularly trains in Europe).[28]

Pogo pins[ edit ]
    Main article: Pogo pin




Pogo pin connectors

Pogo pin or spring loaded connectors are commonly used in consumer and industrial products, where
mechanical resilience and ease of use are priorities.[32] The connector consists of a barrel, a spring, and a
plunger. They are in applications such as the MagSafe connector where a quick disconnect is desired for safety.
Because they rely on spring pressure, not friction, they can be more durable and less damaging than traditional
pin and socket design, leading to their use in in-circuit testing.[33]

Crown spring connectors[ edit ]




Typical crown spring plug and its
female socket

Crown spring connectors are commonly used for higher current flows and industrial applications. They have a
high number of contact points, which provides a more electrically reliable connection than traditional pin and
socket connectors.[34]

Methods of connection[ edit ]
                                         Plug and socket connectors
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                                               Male MIL-DTL-
                                               5015 plug




                                               Female VGA
                                               connector




                                               Male serial port
                                               connector




                                               Mating surfaces of
                                               a hermaphroditic
                                               connector

Whilst technically inaccurate, electrical connectors can be viewed as a type of adapter to convert between two
connection methods, which are permanently connected at one end and (usually) detachable at the other
end.[7]: 40 By definition, each end of this "adapter" has a different connection method – e.g. the solder tabs on a
male phone connector, and the male phone connector itself.[3] In this example, the solder tabs connected to the
cable represent the permanent connection, whilst the male connector portion interfaces with a female socket
forming a detachable connection.

There are many ways of applying a connector to a cable or device. Some of these methods can be accomplished
without specialized tools. Other methods, while requiring a special tool, can assemble connectors much faster
and more reliably, and make repairs easier.

The number of times a connector can connect and disconnect with its counterpart while meeting all its
specifications is termed as mating cycles and is an indirect measure of connector lifespan. The material used for
connector contact, plating type and thickness is a major factor that determines the mating cycles.[35]

Plug and socket connectors[ edit ]
    See also: Gender of connectors and fasteners and Pinout

Plug and socket connectors are usually made up of a male plug (typically pin contacts) and a female socket
(typically receptacle contacts). Often, but not always, sockets are permanently fixed to a device as in a chassis
connector (see above), and plugs are attached to a cable.

Plugs generally have one or more pins or prongs that are inserted into openings in the mating socket. The
connection between the mating metal parts must be sufficiently tight to make a good electrical connection and
complete the circuit. An alternative type of plug and socket connection uses hyperboloid contacts, which makes
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a more reliable electrical connection. When working with multi-pin connectors, it is helpful to have a pinout
diagram to identify the wire or circuit node connected to each pin.

Some connector styles may combine pin and socket connection types in a single unit, referred to as a
hermaphroditic connector.[6]: 56 These connectors includes mating with both male and female aspects,
involving complementary paired identical parts each containing both protrusions and indentations. These
mating surfaces are mounted into identical fittings that freely mate with any other, without regard for gender
(provided that the size and type match).

Sometimes both ends of a cable are terminated with the same gender of connector, as in many Ethernet patch
cables. In other applications the two ends are terminated differently, either with male and female of the same
connector (as in an extension cord), or with incompatible connectors, which is sometimes called an adapter
cable.

Plugs and sockets are widely used in various connector systems including blade connectors, breadboards, XLR
connectors, car power outlets, banana connectors, and phone connectors.

Jacks and plugs[ edit ]




Male phone plug

A jack is a connector that installs on the surface of a bulkhead or enclosure, and mates with its reciprocal, the
plug.[36] According to the American Society of Mechanical Engineers,[37] the stationary (more fixed)
connector of a pair is classified as a jack (denoted J), usually attached to a piece of equipment as in a chassis-
mount or panel-mount connector. The movable (less fixed) connector is classified as a plug (denoted P),[37]
designed to attach to a wire, cable or removable electrical assembly.[38] This convention is currently defined in
ASME Y14.44-2008, which supersedes IEEE 200-1975, which in turn derives from the long-withdrawn MIL-
STD-16 (from the 1950s), highlighting the heritage of this connector naming convention.[36] IEEE 315-1975
works alongside ASME Y14.44-2008 to define jacks and plugs.

The term jack occurs in several related terms:

      The registered jack or modular jack in RJ11, RJ45 and other similar connectors used for
      telecommunication and computer networking
      The telephone jack of manual telephone switchboards, which is the socket fitting the original 1⁄4 inch
      (6.35 mm) telephone plug
      The 1⁄4 inch (6.35 mm) phone jack common to many electronic applications in various configurations,
      sometimes referred to as a headphone jack
      The RCA jack, also known as a phono jack, common to consumer audiovisual electronics
      The EIAJ jack for consumer appliances requiring a power supply of less than 18.0 volts

Crimp-on connectors[ edit ]
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A wire and connector being
crimped together with a crimping
tool
     Main article: Crimp (electrical)

Crimped connectors are a type of solderless connection, using mechanical friction and uniform deformation to
secure a connector to a pre-stripped wire (usually stranded).[1] Crimping is used in splice connectors, crimped
multipin plugs and sockets, and crimped coaxial connectors. Crimping usually requires a specialised crimping
tool, but the connectors are quick and easy to install and are a common alternative to solder connections or
insulation displacement connectors. Effective crimp connections deform the metal of the connector past its
yield point so that the compressed wire causes tension in the surrounding connector, and these forces counter
each other to create a high degree of static friction. Due to the elastic element in crimped connections, they are
highly resistant to vibration and thermal shock.[39]

Crimped contacts are permanent (i.e. the connectors and wire ends cannot be reused).[40]

Crimped plug-and-socket connectors can be classified as rear release or front release. This relates to the side of
the connector where the pins are anchored:[20]

      Front release contacts are released from the front (contact side) of the connector, and removed from the
      rear. The removal tool engages with the front portion of the contact and pushes it through to the back of
      the connector.
      Rear release contacts are released and removed from the rear (wire side) of the connector. The removal
      tool releases the contacts from the rear and pulls the contact out of the retainer.

Soldered connectors[ edit ]
    See also: Soldering

Many plug and socket connectors are attached to a wire or cable by soldering conductors to electrodes on the
back of the connector. Soldered joints in connectors are robust and reliable if executed correctly, but are usually
slower to make than crimped connections.[1] When wires are to be soldered to the back of a connector, a
backshell is often used to protect the connection and add strain relief. Metal solder buckets or solder cups are
provided, which consist of a cylindrical cavity that an installer fills with solder before inserting the wire.[41]

When creating soldered connections, it is possible to melt the dielectric between pins or wires. This can cause
problems because the thermal conductivity of metals causes heat to quickly distribute through the cable and
connector, and when this heat melts plastic dielectric, it can cause short circuits or "flared" (conical)
insulation.[40] Solder joints are also more prone to mechanical failure than crimped joints when subjected to
vibration and compression.[42]

Insulation-displacement connectors[ edit ]

    Main article: Insulation-displacement connector

Since stripping insulation from wires is time-consuming, many connectors intended for rapid assembly use
insulation-displacement connectors which cut the insulation as the wire is inserted.[1] These generally take
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the form of a fork-shaped opening in the terminal, into which the insulated wire is pressed, which cut through
the insulation to contact the conductor. To make these connections reliably on a production line, special tools
accurately control the forces applied during assembly. On small scales, these tools tend to cost more than tools
for crimped connections.

Insulation displacement connectors are usually used with small conductors for signal purposes and at low
voltage. Power conductors carrying more than a few amperes are more reliably terminated with other means,
though "hot tap" press-on connectors find some use in automotive applications for additions to existing wiring.

A common example is the multi-conductor flat ribbon cable used in computer disk drives; to terminate each of
the many (approximately 40) wires individually would be slow and error-prone, but an insulation displacement
connector can terminate all the wires in a single action. Another very common use is so-called punch-down
blocks used for terminating unshielded twisted pair wiring.




Binding posts on a bi-
amplified loudspeaker

Binding posts[ edit ]
    Main article: Binding post

Binding posts are a single-wire connection method, where stripped wire is screwed or clamped to a metal
electrode. Such connectors are frequently used in electronic test equipment and audio. Many binding posts also
accept a banana plug.

Screw terminals[ edit ]

    Main article: Screw terminal

Screw connections are frequently used for semi-permanent wiring and connections inside devices, due to their
simple but reliable construction. The basic principle of all screw terminals involves the tip of a bolt clamping
onto a stripped conductor. They can be used to join multiple conductors,[43] to connect wires to a printed circuit
board, or to terminate a cable into a plug or socket.[7]: 50 The clamping screw may act in the longitudinal axis
(parallel to the wire) or the transverse axis (perpendicular to the wire), or both. Some disadvantages are that
connecting wires is more difficult than simply plugging in a cable, and screw terminals are generally not very
well protected from contact with persons or foreign conducting materials.
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Terminal blocks of various
types

Terminal blocks (also called terminal boards or strips) provide a convenient means of connecting individual
electrical wires without a splice or physically joining the ends. Since terminal blocks are readily available for a
wide range of wire sizes and terminal quantity, they are one of the most flexible types of electrical connector
available. One type of terminal block accepts wires that are prepared only by stripping a short length of
insulation from the end. Another type, often called barrier strips, accepts wires that have ring or spade terminal
lugs crimped onto the wires.

Printed circuit board (PCB) mounted screw terminals let individual wires connect to a PCB through leads
soldered to the board.

Ring and spade connectors[ edit ]




Ring style wire-end crimp
connectors

The connectors in the top row of the image are known as ring terminals and spade terminals (sometimes
called fork or split ring terminals). Electrical contact is made by the flat surface of the ring or spade, while
mechanically they are attached by passing a screw or bolt through them. The spade terminal form factor
facilitates connections since the screw or bolt can be left partially screwed in as the spade terminal is removed
or attached. Their sizes can be determined by the gauge of the conducting wire, and the interior and exterior
diameters.

Blade connectors[ edit ]
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Blade connectors (lower half of
photo). Ring and spade terminals
(upper half). Bullet terminals,
male and female (right-center,
with blue wires)

A blade connector is a type of single wire, plug-and-socket connection device using a flat conductive blade
(plug) that is inserted into a receptacle. Wires are typically attached to male or female blade connector
terminals by either crimping or soldering. Insulated and uninsulated varieties are available. In some cases the
blade is an integral manufactured part of a component (such as a switch or a speaker unit), and the reciprocal
connector terminal is pushed onto the device's connector terminal.

Other connection methods[ edit ]
      Crocodile (alligator) clips – conductive clamps used for temporary connections, e.g. jumper cables
      Board to board connectors – e.g. card-edge connectors or FPGA mezzanine connectors
      Twist-on wire connectors (e.g. wire nuts) – used in low-voltage power circuits for wires up to about
      10 AWG
      Wire wrapping – used in older circuit boards



See also[ edit ]
      Adapter
      Bent pin analysis
      Cable gland
      Electrical contacts
      Electrical network
      Electrical splice
      Electrical termination
      Gender of connectors and fasteners
      Lightbulb socket
      Pothead for a termination on a high voltage electric power cable
      Tee connector
      Tube socket
      Wire nut


Connectors[ edit ]

      AC power plugs and sockets
      Audio and video connector
      Banana connector
      Battery holder
      Battery terminals
      Coaxial power connector
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    Computer port (hardware)
    Crocodile clip
    DC connector
    DIN connector
    Dock connector
    D-sub connectors
    Edge connector
    Elastomeric connector
    JST connector
    Mini-DIN connector
    Optical fiber connector
    Phone connector (audio)
    Pin header
    RCA connector
    RJ-XX connector


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    1    to bear or hold up (a load, mass, structure, part, etc.); serve as a
         foundation for.
    2    to sustain or withstand (weight, pressure, strain, etc.) without giving
         way; serve as a prop for.
    3    to undergo or endure, especially with patience or submission;
         tolerate.
    SEE MORE



  noun
    10 the act or an instance of supporting.

    11   the state of being supported.
    SEE MORE



  adjective
Case 2:20-cv-02185-DJH           Document 27-1   Filed 11/22/21      Page 127 of 133
     19 (of hosiery) made with elasticized fibers so as to fit snugly on the
         legs, thereby aiding circulation, relieving fatigue, etc.




OTHER WORDS FOR SUPPORT

3        suffer, bear, stand, stomach.

13       sustenance, subsistence, keep.




                                                                                       FEEDBACK
See synonyms for support on Thesaurus.com




QUIZ

ARE YOU A TRUE BLUE CHAMPION OF THESE
"BLUE" SYNONYMS?
We could talk until we're blue in the face about this quiz on words for the color
"blue," but we think you should take the quiz and find out if you're a whiz at these
colorful terms.

QUESTION 1 OF 8

Which of the following words describes “sky blue”?


     navy



     beryl



     azure



                            TAKE THE QUIZ TO FIND OUT
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                                  Improve Your Writing




ORIGIN OF SUPPORT
First recorded in 1350–1400; (verb) Middle English supporten, from Middle French
supporter, from Medieval Latin supportāre “to endure” (Latin: “to convey”), equivalent to
sup- sup- + portāre “to carry” (see port5); (noun) Middle English, derivative of the verb




                                                                                                FEEDBACK
HISTORICAL USAGE OF SUPPORT
The English noun             derives from the verb            . The verb comes from Middle
English supporten, soport, supporte, from Anglo-French and Middle French subporter,
supporter, originally “to suffer patiently, endure,” then “to come to the help of,” and later
“to be in favor of, encourage.” The Middle French subporter clearly shows its Latin
original, supportāre (also subportāre ), which in Latin means only “to transport or carry
(supplies) to a place.” The other senses of supportāre arose in Medieval Latin.
Supportāre is a compound verb made up of the preposition and prefix sub, sub- (here in
the sense “movement or position up close to”) and the simple verb portāre “to carry,
convey, transport.”




OTHER WORDS FROM SUPPORT
sup·port·ing·ly, adverb
non·sup·port·ing, adjective
pre·sup·port, noun, verb (used with object)
pro·sup·port, adjective

                                  SEE MORE RELATED FORMS




WORDS NEARBY SUPPORT
       Case 2:20-cv-02185-DJH            Document 27-1          Filed 11/22/21       Page 129 of 133
      supply chain, supply-side, supply-side economics, supply-sider, supply teacher, su
      pport, supportable, support area, supporter, support group, supporting


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      WHEN TO USE


      What are other ways to say support?



      To support something, as a structure or heavy load, is to bear it or hold it up. To support a




                                                                                                            FEEDBACK
      person is to supply them with things necessary to existence, or to keep their spirits or courage
      up under trial or affliction. How is support different from maintain, sustain, and uphold? Find out
      on Thesaurus.com.




      WORDS RELATED TO SUPPORT

      backing, aid, assistance, encouragement, loyalty, protection, relief, care, payment,
      responsibility, subsidy, bolster, hold, reinforce, uphold, encourage, finance, fund,
      maintain, raise




      HOW TO USE SUPPORT IN A SENTENCE

      A few of the 3DS variation that were, until recently, supported by Nintendo.
      THE END OF THE 3DS MARKS AN INFLECTION POINT FOR PORTABLE GAMING | KYLE ORLAND | SEPTEMBER 17,
      2020 | ARS TECHNICA


      In the playoffs, calls have been more likely to get the “support” ruling than “stands,”
      indicating slightly more confident review decisions.
      DON’T BLAME THE REFS FOR ALL OF THESE REPLAY REVIEWS | JARED DUBIN | SEPTEMBER 17,
      2020 | FIVETHIRTYEIGHT


      It may, Cloudflare has a blog post that shares how you can check your site support.
      GOOGLEBOT TO SOON CRAWL OVER HTTP/2 | BARRY SCHWARTZ | SEPTEMBER 17, 2020 | SEARCH ENGINE LAND


      That’s 4 percentage points higher than the 68 percent who supported Hillary Clinton in
      2016.
      MORE AND MORE AMERICANS AREN’T RELIGIOUS. WHY ARE DEMOCRATS IGNORING THESE VOTERS? | DANIEL
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    COX | SEPTEMBER 17, 2020 | FIVETHIRTYEIGHT




                                            SEE MORE EXAMPLES




    TRENDING ARTICLES


                Why Do “Left” And “Right” Mean                  What Do “a.m.” And “p.m.” Stand
                Liberal And Conservative?                       For?


                “Epidemic” vs. “Pandemic” vs.                   “Have” vs. “Has”: When To Use
                “Endemic”: What Do These Terms                  Each One
                Mean?




                                                                                                   FEEDBACK
                10 Types Of Pronouns And How                    Understanding Native American
                To Use Them                                     Heritage: The Tribes, Languages,
                                                                And Culture




BRITISH DICTIONARY DEFINITIONS FOR SUPPORT




    support
    / (səˈpɔːt) /


    verb (tr)
       1   to carry the weight of
       2   to bear or withstand (pressure, weight, etc)
       3   to provide the necessities of life for (a family, person, etc)
       4   to tend to establish (a theory, statement, etc) by providing new facts;
           substantiate
       SEE MORE



    noun
       13 the act of supporting or the condition of being supported

       14 a thing that bears the weight or part of the weight of a construction
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             SEE MORE




        DERIVED FORMS OF SUPPORT
        supportless, adjective




        WORD ORIGIN FOR SUPPORT

        C14: from Old French supporter, from Latin supportāre to bring, from sub- up + portāre
        to carry




                                                                                                     FEEDBACK
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MEDICAL DEFINITIONS FOR SUPPORT




        support
        [ sə-pôrt′ ]


        v.
                 To bear the weight of, especially from below.
                 To hold in position so as to keep from falling, sinking, or slipping.
                 To be capable of bearing; withstand.
                 To keep from weakening or failing; strengthen.
             SEE MORE



        n.
                 The act of supporting.
                 The state of being supported.
             SEE MORE
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                                               WORD OF THE DAY

                                          persnickety
                                       adjective | [per-snik-i-tee ]

                                                  SEE DEFINITION




                                                                                                         FEEDBACK
     OTHERS ARE READING



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                 The Most Surprisingly Serendipitous Words Of The Day




                 7 Meaningful Ways To Express Your Gratitude




                 Wrap Your Head Around These 26 Hard Words To Pronounce




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              V W X Y Z

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                                                                            FEEDBACK
